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                       1 Leonard M. Shulman - Bar No. 126349
                         Rika M. Kido - Bar No. 273780
                       2 SHULMAN HODGES & BASTIAN LLP
                         100 Spectrum Center Drive, Suite 600
                       3 Irvine, California 92618
                         Telephone:      (949) 340-3400
                       4 Facsimile:      (949) 340-3000
                         Email: LShulman@shbllp.com
                       5         RKido@shbllp.com

                       6 Attorneys for Lynda T. Bui,
                         Chapter 7 Trustee
                       7
                                                 UNITED STATES BANKRUPTCY COURT
                       8
                                     CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
                       9

                     10 In re                                               Case No. 6:16-bk-16877-WJ

                     11 RUSSEL DENNIS HILES, III,                           Chapter 7

                     12 Debtor.                                             CHAPTER 7 TRUSTEE’S MOTION FOR ORDER:

                     13                                                       (1) APPROVING THE SALE OF REAL
                                                                                  PROPERTY OF THE ESTATE FREE AND
                                                                                  CLEAR OF LIENS PURSUANT TO
                     14                                                           BANKRUPTCY CODE §§ 363(b)(1) and (f),
                                                                                  SUBJECT TO OVERBIDS, COMBINED WITH
                     15                                                           NOTICE OF BIDDING PROCEDURES AND
                                                                                  REQUEST FOR APPROVAL OF THE
                     16                                                           BIDDING PROCEDURES UTILIZED;

                     17                                                       (2) APPROVING SALE OF PERSONAL
                                                                                  PROPERTY FREE AND CLEAR OF LIENS
                     18                                                           PURSUANT TO BANKRUPTCY CODE §§
                                                                                  363(b)(1) and (f);
                     19                                                       (3) APPROVING PAYMENT OF REAL ESTATE
                                                                                  COMMISSION AND OTHER COSTS; AND
                     20
                                                                             (4) GRANTING RELATED RELIEF;
                     21
                                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                     22                                                     AND DECLARATION OF LYNDA T. BUI IN
                                                                            SUPPORT THEREOF
                     23
                                                                            [Real Property commonly known at 66876 Gist
                     24                                                     Road, Bend, Oregon 97703]

                     25                                                     Hearing Date:
                                                                            Date: October 23, 2018
                     26                                                     Time: 1:00 p.m.
                                                                            Place: Courtroom 304
                     27                                                            United States Bankruptcy Court
                                                                                   3420 Twelfth Street
                     28                                                            Riverside, CA 92501
 SHULMAN HODGES &
      BASTIAN LLP           5401-000\1265036.1
100 Spectrum Center Drive
        Suite 600                                                              1
    Irvine, CA 92618        Sale Motion TC Hiles Ranch Property
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                       1             TO          THE   HONORABLE      WAYNE       E.   JOHNSON,        UNITED       STATES

                       2 BANKRUPTCY JUDGE, THE DEBTOR, THE OFFICE OF THE UNITED STATES

                       3 TRUSTEE, AND OTHER PARTIES-IN-INTEREST:

                       4             Lynda T. Bui, solely in her capacity as the Chapter 7 Trustee (“Trustee”) for the

                       5 bankruptcy estate (“Estate”) of Russel Dennis Hiles, III (“Debtor”), brings this Motion for Order:

                       6 (1) Approving the Sale of Real Property of the Estate Free and Clear of Certain Liens Pursuant to

                       7 Bankruptcy Code §§ 363(b)(1) and (f), Subject to Overbids, Combined With Notice of Bidding

                       8 Procedures and Request for Approval of the Bidding Procedures Utilized; (2) Approving Sale of

                       9 Personal Property Free and Clear of All Liens, Claims and Encumbrances Pursuant to 11 U.S.C. §

                     10 363(f); (3) Approving Payment of Real Estate Commission and Other Costs; and (3) Granting

                     11 Related Relief (“Sale Motion”), and respectfully represents as follows:

                     12                                         I.    INTRODUCTION

                     13              The Trustee has received an offer from Drew Hood or his assignee (“Buyer”), to purchase
                     14 the real property located at 17345 Plainview Road, Bend, OR 97703, 17265 Plainview Road,

                     15 Bend, OR 97703, 66876 Gist Road, Bend, OR 97703, and 66822 Gist Road, Bend OR 97703

                     16 (“Bend Property”) for the price of $1,995,000.00, subject to overbids. The Buyer has also offered

                     17 to purchase the Personal Property (defined below) located at the Bend Property for $10,000.00.

                     18 Through the sale, the Trustee is expected to generate net proceeds of approximately $843,900.00

                     19 from the sale of the Bend Property and an additional $10,000.00 from the sale of the Personal

                     20 Property for the benefit of the Estate and its creditors. In the event the purchase price for the Bend

                     21 Property is increased by a successful overbid, the estimated net proceeds from the sale of the Bend

                     22 Property will increase. If the sale of the Bend Property and Personal Property is approved, the

                     23 Estate will receive funds to provide for a distribution to unsecured creditors. Accordingly, the

                     24 Trustee believes that good cause exists to grant the Sale Motion so the Trustee does not lose this

                     25 favorable business opportunity.

                     26 ///

                     27 ///

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                       1                                            II.      RELEVANT FACTS

                       2 A.          The Bankruptcy Case

                       3             The Debtor commenced the instant bankruptcy case by filing a Voluntary Petition for relief

                       4 under Chapter 11 of the Bankruptcy Code on August 1, 2016. Pursuant to an order entered on

                       5 December 21, 2017 (Docket No. 275), the case was converted to Chapter 7 and Lynda T. Bui was

                       6 subsequently appointed as the Trustee for this Estate.

                       7             The deadline for filing proofs of claim in this case was April 9, 2018. The Court’s claims

                       8 register indicates there have been thirty claims filed totaling $22,779,381.46, consisting

                       9 $3,956,552.40 in secured claims, $4,210,470.09, in priority unsecured claims, $325.00 in

                     10 administrative claims, and $14,612,033.97 in general unsecured claims.

                     11 B.           The Bend Property and Personal Property

                     12              On his Schedule A/B, the Debtor lists an ownership interest in the Bend Property1, which
                     13 is legally described on page 4 of the Preliminary Title Report dated September 13, 2018 (“Title

                     14 Report”), a copy of which is attached as Exhibit “1” to the Declaration of Lynda T. Bui (“Bui

                     15 Declaration”). The Debtor listed the value of the Bend Property at $12,000,000.00. On his

                     16 Schedule C, the Debtor did not claim an exemption in the Bend Property.

                     17               On his Schedule D, the Debtor listed the following liens against the Bend Property: (1) a
                     18 mortgage with Bank of America N.A. (“BofA”) in the amount of $783,134.00 (“BofA Lien”); and

                     19 (2) lien in favor of the Deschutes County Treasurer and Tax Collector in the amount of $5,000.00

                     20 (related to real property taxes). Pursuant to a recent Payoff Statement, the Trustee is advised that

                     21 the amount due to BofA through October 9, 2018 is $980,826.87. Attached as Exhibit “2” to the

                     22 Bui Declaration is a true and correct copy of the BofA Payoff Statement good through October 9,

                     23 2018.

                     24 ///

                     25 ///

                     26
                            1
                     27       The Debtor lists his ownership of a 40 acre ranch located at 66876 Gist Road, Bend, Oregon 97703. Pursuant to title
                            records, the Bend Property is comprised of three parcels: (1) Parcel 1 located at 17345 Plainview Road, Bend, OR
                     28     97703; (2) Parcel 2 located at 17265 Plainview Road, Bend, OR 97703; (3) Parcel 3 located at 66822 Gist Road, Bend
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                            OR 97703 and 66876 Gist Road, Bend, OR 97703.
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                       1             On his Schedule A/B, the Debtor lists personal property located at the Bend Property as

                       2 “furniture, antiques, paintings and collectibles” (“Personal Property”). The Debtor listed the value

                       3 of the Personal Property at $550,000.00.          On his Schedule C, the Debtor did not claim an

                       4 exemption in the Personal Property.

                       5             The Trustee is informed and believes that the Debtor significantly over-stated the value of

                       6 the Personal Property. The Trustee is informed by a local auctioneer that the Personal Property,

                       7 after a piecemeal auction sale, has a total estimated liquidation value of approximately $10,000.00

                       8 to $25,000.00. If the Trustee were to auction the Personal Property for sale, the net to the Estate

                       9 would be less after deducting the auctioneer’s commission (25% to 50% to compensate the

                     10 auctioneer for advertising and labor costs to set up and conduct the auction).

                     11 C.           Broker Employment, Marketing Efforts and Sale of the Bend Property

                     12              On January 23, 2018 the Trustee filed an application (Docket No. 292) to employ Strategic
                     13 Realty, LLC as her real estate broker (“Broker”) to assist in marketing the Bend Property for sale,

                     14 which was approved by Court order entered on February 20, 2018 (Docket No. 310).

                     15              The Estate does not have the funds to obtain a formal written appraisal for the estimated
                     16 value of the Bend Property. The Broker is experienced in the sale of real property as well as

                     17 property valuations and is familiar with valuing real property in today’s economic environment.

                     18 After conducting an on-site inspection, the Broker informed the Trustee that the Bend Property

                     19 may be worth approximately $2,995,000.00 and that the Broker recommended listing the Property

                     20 for sale at $2,995,000.00.

                     21              Through her Broker, the Trustee has marketed the Bend Property for over seven (7)
                     22 months. The Trustee received only two offers for the Bend Property. The first potential buyer

                     23 offered less than the current Buyer (defined below). The offer from the Buyer that is the subject

                     24 of this Sale Motion is the best and highest offer received for the Bend Property. The Buyer’s offer

                     25 is the result of negotiations between the Trustee and the Buyer for the highest and best offer.

                     26 ///

                     27 ///

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                       1             The Buyer has offered to purchase the Bend Property for $1,995,000.00. The purchase

                       2 price includes a deposit of $25,000.00. The Buyer has also offered to purchase all personal

                       3 property located at the Bend Property for $10,000.00. Attached as Exhibit “3” to the Bui

                       4 Declaration is a true and correct copy of the Residential Real Estate Sale Agreement and related

                       5 addendum (collectively the “Agreement”). Given that the sale of the Bend Property is subject to

                       6 overbids, it is anticipated that the Trustee will receive the best and highest value for the Bend

                       7 Property and therefore the proposed sale price is fair and reasonable.

                       8 D.          Treatment of Liens and Encumbrances Through the Sale

                       9             The following chart sets forth the liens and encumbrances against the Bend Property as

                     10 detailed in the Title Report and the proposed treatment of such liens and encumbrances through

                     11 the sale:

                     12
                                    Creditor                 Description                  Estimated Amount         Treatment of Lien
                     13                                                                        Owing               Through the Sale

                     14
                              Deschutes County     Real property taxes (current and       $7,834.11           All outstanding real property
                     15       Treasurer and Tax    past due)                                                  taxes will be paid through
                              Collector                                                                       escrow on the sale transaction.
                     16
                              Deschutes County     Exclusive farm use property tax        $34,315.34          All outstanding property tax
                     17       Treasurer and Tax    liability                                                  liabilities will be paid through
                              Collector                                                                       escrow on the sale transaction.
                     18
                              Deschutes County     Exclusive farm use property tax        $11,643.43          All outstanding property tax
                     19       Treasurer and Tax    liability                                                  liabilities will be paid through
                              Collector                                                                       escrow on the sale transaction.
                     20
                              Sun Mountain Water   Regulations, including levies,         $643.00             This lien will be paid through
                     21       Systems              liens, assessments, water and                              escrow on the sale transaction.
                                                   easements                                                  Thus, this lien will be
                     22                                                                                       released, discharged and
                                                                                                              terminated at the close of
                     23                                                                                       escrow and the Property will
                                                                                                              be sold free and clear of this
                     24                                                                                       lien and the lien will not
                                                                                                              attach to the sale proceeds.
                     25
                              Bank of America      Deed of Trust recorded against         $980,826.87 (good   This lien will be paid through
                     26                            the Bend Property on September         through 10/9/18)    escrow on the sale transaction.
                                                   23, 2008 in the amount of                                  Thus, this lien will be
                     27                            $862,500.00, Recording No.                                 released, discharged and
                                                   2008-38837                                                 terminated at the close of
                     28                                                                                       escrow and the Property will
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                       1            Creditor                  Description                Estimated Amount         Treatment of Lien
                                                                                              Owing               Through the Sale
                       2

                       3                                                                                    be sold free and clear of this
                                                                                                            lien and the lien will not
                       4                                                                                    attach to the sale proceeds.

                       5
                              Farmers Insurance     Pending court action, Farmers        Unknown            A Notice of Pendency of
                       6      Exchange, an inter-   Insurance Exchange, et. al. v.                          Action was not filed regarding
                              insurance exchange    Hiles, in Deschutes Circuit                             the Farmers Action.
                       7      (“Farmers”)           Court, Case No. 16CV20120                               However, since the Bend
                                                    (“Farmers Action”).                                     Property is identified in the
                       8                                                                                    complaint filed in the Farmers
                                                                                                            Action, it was picked up by
                       9                                                                                    title as is common in Oregon.

                     10                                                                                     The Trustee, through her
                                                                                                            counsel, has communicated
                     11                                                                                     with Farmers’ counsel and
                                                                                                            Farmers has agreed to dismiss
                     12                                                                                     the Farmers Action. Before
                                                                                                            the Farmers Action may be
                     13                                                                                     dismissed, Farmers will
                                                                                                            request relief from stay from
                     14                                                                                     the Court to dismiss the
                                                                                                            Farmers Action.
                     15
                                                                                                            This “lien” is subject to a bona
                     16                                                                                     fide dispute. The complaint
                                                                                                            commencing the Farmers
                     17                                                                                     Action was recorded within 90
                                                                                                            days prior to the Petition Date
                     18                                                                                     and so the Trustee asserts the
                                                                                                            “lien” created by the filing of
                     19                                                                                     the Farmers Action is a
                                                                                                            preferential transfer that the
                     20                                                                                     Trustee may avoid and recover
                                                                                                            pursuant to 11 U.S.C. §§ 547
                     21                                                                                     and 550.

                     22                                                                                     As it is subject to a bona fide
                                                                                                            dispute, in the event the
                     23                                                                                     Farmers Action has not been
                                                                                                            dismissed prior to the close of
                     24                                                                                     escrow on the Bend Property,
                                                                                                            pursuant to Bankruptcy Code
                     25                                                                                     §§ 363(b) (1) and (f)(4), the
                                                                                                            Trustee seeks to sell the
                     26                                                                                     Property free and clear of this
                                                                                                            “lien” with such disputed lien
                     27                                                                                     to attach to the proceeds of the
                                                                                                            sale in the same validity and
                     28                                                                                     priority as prior to the sale
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                       1            Creditor                Description            Estimated Amount        Treatment of Lien
                                                                                        Owing              Through the Sale
                       2

                       3                                                                              pending agreement with the
                                                                                                      lienholder or further Court
                       4                                                                              order.

                       5

                       6
                                     All costs of sale, including escrow fees and real estate commissions will be paid at closing.
                       7
                            E.       Approval of the Bidding Procedures.
                       8
                                     The Trustee has determined that it would benefit the Estate to permit all interested parties
                       9
                            to receive information and bid for the Bend Property instead of selling the Bend Property to the
                     10
                            Buyer on an exclusive basis. Accordingly, in order to obtain the highest and best offer for the
                     11
                            benefit of the creditors of this Estate, the Trustee is utilizing and also seeks Court approval of the
                     12
                            following bidding procedures (“Bidding Procedures”):
                     13
                                1.     Potential overbidder(s) must bid an initial amount of at least $10,000.00 over the
                     14 Purchase Price for the Bend Property and $2,000.00 for the Personal Property for a total of
                        $2,017,000.00. Initial bid amount for just the Bend Property shall be $2,005,000.00. The
                     15 Personal Property is not available for overbidders who do not also bid on the Bend Property.
                        Minimum bid increments, with or without the Personal Property, thereafter shall be $5,000.00.
                     16 The Trustee shall have sole discretion in determining which overbid is the best for the Estate and
                        will seek approval from the Court of the same.
                     17
                                2.     Overbids must be in writing and be received by the Trustee and the Trustee’s
                     18 counsel, Shulman Hodges & Bastian LLP to the attention of Rika M. Kido or before 5:00 p.m.
                        (California time) on October 16, 2018 (seven days prior to the hearing on this Sale Motion).
                     19
                                3.     Overbids must be accompanied by certified funds in an amount equal to three
                     20 percent (3%) of the overbid purchase price.

                     21        4.      The overbidder must also provide evidence of having sufficient specifically
                        committed funds to complete the transaction, or a lending commitment for the bid amount and
                     22 such other documentation relevant to the bidder’s ability to qualify as the purchaser of the Bend
                        Property and ability to close the sale and immediately and unconditionally pay the winning bid
                     23 purchase price at closing.

                     24             5.     The overbidder must seek to acquire the Bend Property on terms and conditions not
                            less favorable to the Estate than the terms and conditions to which the Buyer has agreed to
                     25     purchase the Bend Property as set forth in the Agreement attached as Exhibit “3” to the Bui
                            Declaration including no contingencies and closing on the sale in the same time parameters as the
                     26     Buyer.
                     27             6.     All competing bids must acknowledge that the Property is being sold on an “AS
                            IS” basis without warranties of any kind, expressed or implied, being given by the Trustee,
                     28     concerning the condition of the Bend Property or the quality of the title thereto, or any other
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                            matters relating to the Bend Property. The competing bid buyer must represent and warrant that
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                      1 he/she is purchasing the Bend Property as a result of their own investigations and are not buying
                        the Bend Property pursuant to any representation made by any broker, agent, accountant, attorney
                      2 or employee acting at the direction, or on the behalf of the Trustee. The competing bidder must
                        acknowledge that he/she has inspected the Bend Property, and upon closing of Escrow governed
                      3 by the Agreement, the competing buyer forever waives, for himself/herself, his/her heirs,
                        successors and assigns, all claims against the Debtor, his agents, the Debtor’s Estate, Lynda T. Bui
                      4 as Trustee and individually, and her attorneys, agents and employees, arising or which might
                        otherwise arise in the future concerning the Property.
                      5
                                7.      If overbids are received, the final bidding round shall be held at the hearing on the
                      6 Sale Motion (October 23, 2018 at 1:00 p.m., California Time, at the U.S. Bankruptcy Court,
                        Courtroom 301, 3420 Twelfth Street, Riverside, California 92501), or if rescheduled, upon
                      7 telephonic notice to the Buyer and the parties having submitted overbids in order to allow all
                        potential bidders the opportunity to overbid and purchase the Bend Property. At the final bidding
                      8 round, the Trustee or her counsel will, in the exercise of their business judgment and subject to
                        Court approval, accept the bidder who has made the highest and best offer to purchase the Bend
                      9 Property, consistent with the Bidding Procedures (“Successful Bidder”).
                                8.      At the hearing on the Sale Motion, the Trustee will seek entry of an order, inter
                     10 alia, authorizing and approving the sale of the Bend Property to the Successful Bidder. The
                        hearing on the Sale Motion may be adjourned or rescheduled without notice other than by an
                     11 announcement of the adjourned date at the hearing on the Sale Motion.

                     12         9.     In the event the Successful Bidder fails to close on the sale of the Bend Property
                        within the time parameters approved by the Court, the Trustee shall retain the Successful Bidder’s
                     13 Deposit and will be released from his obligation to sell the Bend Property to the Successful Bidder
                        and the Trustee may then sell the Property to the first back-up bidder approved by the Court at the
                     14 hearing on the Sale Motion (“First Back-Up Bidder”).

                     15        10.    In the event First Back-Up Bidder fails to close on the sale of the Bend Property
                        within the time parameters approved by the Court, the Trustee shall retain the First Back-Up
                     16 Bidder’s Deposit and will be released from her obligation to sell the Bend Property to the First
                        Back-Up Bidder and the Trustee may then sell the Bend Property to the second back-up bidder
                     17 approved by the Court at the hearing on the Sale Motion (“Second Back-Up Bidder”).

                     18              The Bidding Procedures will be provided to all creditors and any potential bidders or
                     19 parties who have shown an interest in the Bend Property. In addition, the Court’s mandatory form

                     20 Notice of Sale of Estate Property will be filed with the Court so that notice of the sale of the

                     21 Property may be posted on the Court’s website under the link “Current Notices of Sales,” thereby

                     22 giving notice to any potential interested parties.

                     23              Based on the foregoing, the Trustee believes that under the circumstances of this case, the
                     24 Property will have been appropriately marketed for bidding.

                     25 ///

                     26 ///

                     27 ///

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                       1 F.          Costs of Sale

                       2             Under the listing agreement for the Bend Property, the Broker is entitled to a commission

                       3 on the sale in an amount not to exceed five percent (5%) of the purchase price. The Trustee seeks

                       4 authorization to pay a real estate broker commission in the amount of $99,750.002 to be split as

                       5 follows:

                       6
                                          Trustee (carve-out for the Estate)                          1% (or $19,950.00)
                       7
                                          Trustee’s Broker, Strategic Realty, LLC                     2% (or $39,900.00)
                       8                  Selling Broker, Keller Williams Central Oregon              2% (or $39,900.00)
                       9                                                                     Total    5% (or $99,750.00)

                     10

                     11              The Trustee also seeks approval to use proceeds from the sale of the Bend Property to

                     12 reimburse her Broker in an amount not to exceed $2,000.00 for the expenses the Broker incurred

                     13 and will incur for maintenance and repair of the Bend Property. This amount includes estimated

                     14 final bills for utilities that are to be paid by the Broker through closing and the cost of re-keying

                     15 the Bend Property. Attached as Exhibit “4” to the Bui Declaration is a true and correct copy of

                     16 the invoice and expense receipts that have already been paid by the Broker in the total amount of

                     17 $1,203.45.

                     18              The Trustee also seeks approval to use proceeds from the sale of the Bend Property to pay

                     19 the Estate’s liability insurance premiums totaling approximately $14,049.10 through October 31,

                     20 2018 for the Bend Property. Attached as Exhibit “5” to the Bui Declaration is a true and correct

                     21 copy of the September 27, 2018 invoice from Trustee Insurance Agency.

                     22              Escrow fees shall be split between Buyer and the Estate in the manner customary in the

                     23 County where the Bend Property is located (Deschutes County, Oregon).

                     24

                     25

                     26

                     27
                            2
                     28       The total amount of real estate broker’s commission will increase if the purchase price for the Bend Property is
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                            increased by a successful overbid; but in no event will exceed five percent (5%) of the purchase price.
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        Suite 600
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                       1               In summary, the costs of the sale are estimated to be $139,650.00 (estimated at 6%,

                       2 including the real estate commission3), plus $2,000.00 for the Broker’s costs and the Estate’s

                       3 insurance premiums of $14,872.38, for a total amount of approximately $152,958.75.

                       4 G.            Tax Consequences

                       5               The Trustee has communicated with her accountant and believes there will be no tax

                       6 liability from the sale. The estimated tax basis for the Bend Property far exceeds the sale price:

                       7 $1,350,000.00 for vacant land and an estimated $10,000,000.00 for improvements made by the

                       8 Debtor.4

                       9                                                 III.     ARGUMENT5

                     10 A.             There is a Good Business Reason for the Sale and the Sale is in the Best Interest of
                     11                the Estate.
                     12                The duties of a trustee in a Chapter 7 filing are enumerated in 11 U.S.C. § 704, which
                     13 provides in relevant part as follows:

                     14                (a) The trustee shall—
                     15                          (1) collect and reduce to money the property of the estate for which
                                                 such trustee serves, and close such estate as expeditiously as is
                     16                          compatible with the best interests of parties in interest;
                     17                          (2) be accountable for all property received;
                     18 11 U.S.C. § 704(a). Further, the Trustee, after notice and hearing, may sell property of the estate.

                     19 11 U.S.C. § 363(b). Courts ordinarily will approve a proposed sale if there is a good business

                     20 reason for the sale and the sale is in the bests interests of the estate.                         In re Wilde Horse
                     21 Enterprises, Inc., 136 B.R. 830, 841 (Bankr. C.D. Cal. 1991); In re Lionel Corp., 722 F.2d 1063,

                     22 1069 (2d Cir. 1983).               In this case, the sale is anticipated to net the Estate approximately
                     23
                            3
                                As provided above and in the Agreement, the Broker and buyer’s broker have agreed to each receive two percent
                     24 (2%) of the commission such that the Estate will receive a carve-out of $19,950.00. Other costs of sale, including
                            escrow costs, are estimated at one percent (1%) or $19,995.00, but such costs are anticipated to be significantly less,
                     25 providing additional funds for the benefit of unsecured creditors.
                            4
                                Real property records indicate there were two Warranty Deeds conveying the Bend Property to the Debtor, with the
                     26 actual consideration of one in the amount of $1,150,000.00 and the other listing actual consideration of $200,000.00.
                            The Debtor testified at his Section 341(a) meeting of creditors that he spent in approximately $10,000,000.00
                     27 constructing the 10,000 square foot residence.
                            5
                     28       Although Local Bankruptcy Rule 6004-1(c)(2)(C) does not require that a memorandum of points and authorities be
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                            filed in support of the Motion, the Trustee is nevertheless submitting one.
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                       1 $843,900.00 for the Bend Property, plus $10,000.00 for the Personal Property, calculated as

                       2 follows (amounts are estimated):

                       3
                                Sale Price (or an amount as increased by overbid)                                $1,995,000.00
                       4
                                Less costs of sale, including real estate commission (estimated at 6%)           ($119,700.00)
                       5        Less real property taxes (estimated)                                                ($7,834.11)

                       6        Less exclusive farm use property tax liability (estimated)                        ($45,958.77)

                       7        Less Sun Mountain Water Systems lien                                                 ($643.00)
                                Less payoff to the first trust deed holder, Bank of America N.A. (estimated)     ($980,826.87)
                       8
                                Less reimbursements of costs to the Trustee’s Broker (estimated)                    ($2,000.00)
                       9
                                Less payment of liability insurance premiums                                      ($14,049.10)
                     10
                                Plus carve-out to Estate from broker commission                                     $19,950.00
                     11
                                Estimated net sale proceeds from the Bend Property                                 $843,938.20
                     12
                                Estimated net sale proceeds from the Personal Property                              $10,000.00
                     13

                     14              The Trustee believes that, from the net sale proceeds, she will be able to make a

                     15 meaningful distribution to unsecured creditors in this case.

                     16 B.           The Proposed Sale Should be Allowed Free and Clear of Liens.

                     17              Bankruptcy Code Section 363(f) allows a trustee to sell property of the bankruptcy estate

                     18 “free and clear of any interest in such property of an entity,” if any one of the following five

                     19 conditions is met:

                     20                     (1)     applicable non-bankruptcy law permits a sale of such property free
                                     and clear of such interest;
                     21
                                                 (2)   such entity consents;
                     22
                                             (3)      such interest is a lien and the price at which such property is to be
                     23              sold is greater than the aggregate value of all liens on such property;

                     24                          (4)   such interest is in bona fide dispute; or

                     25                     (5)    such entity could be compelled, in a legal or equitable proceeding, to
                                     accept money satisfaction of such interest.
                     26

                     27 11 U.S.C. § 363(f).

                     28 ///
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                       1             Section 363(f) is written in the disjunctive and thus only one of the enumerated conditions

                       2 needs to be satisfied for Court approval to be appropriate. The Trustee is not aware of any liens

                       3 and encumbrances impacting the Personal Property. Out of an abundance of caution, the Trustee

                       4 seeks to the sell the Personal Property free and clear of any and all liens and encumbrances, with

                       5 all such liens and encumbrances not satisfied through the sale to attach to the proceeds of the sale

                       6 with the same priority, validity, force and effect as they existed with respect to the Personal

                       7 Property before the closing of the sale pending further Court order or agreement with the parties.

                       8 Accordingly, the Trustee seeks to sell the Personal Property under Section 363(f) of the

                       9 Bankruptcy Code

                     10              For the Bend Property, the Trustee proposes to sell the Bend Property under Sections

                     11 363(f)(3) and 363(f)(4) of the Bankruptcy Code as provided below.

                     12              1.          Section 363(f)(3) – Price Greater than Value.

                     13              The sale of the Bend Property is proper pursuant to Section 363(f)(3). The sale price is for
                     14 a sum that is greater than the aggregate value of the non-disputed liens listed in the Title Report.

                     15              2.          Section 363(f)(4) – Bona Fide Dispute.
                     16              A bona fide dispute has been defined by In re Atwood, 124 B.R. 402 (Bankr. S.D. Ga.
                     17 1991) as a “genuine issue of material fact that bears upon the debtor’s liability, or meritorious

                     18 contention as to the application of law to undisputed facts.” Id. at 407. In In re Milford Group,

                     19 Inc., 150 B.R. 904 (Bankr. M.D. Pa. 1992), the court stated it need not resolve a bona fide dispute,

                     20 but must determine whether the issues presented are genuine as to the existence of a bona fide

                     21 dispute. In doing so, the court in Milford found that the debtor had met its burden to establish

                     22 cause for the court to allow for the sale of the Bend Property, free and clear of liens.

                     23              Here, the Title Report includes the Farmers Action as a “lien” because the complaint
                     24 referenced the Bend Property. The complaint in the Farmers Action was filed within 90 days prior

                     25 to the Petition Date and so the Trustee asserts the “lien” created by the Farmers Action is a

                     26 preferential transfer that the Trustee may avoid and recover pursuant to 11 U.S.C. §§ 547 and 550.

                     27 While the Trustee expects that the Farmers Action will be dismissed prior to closing on the sale of

                     28 the Bend Property, out of an abundance of caution, as it is subject to a bona fide dispute pursuant
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                       1 to Bankruptcy Code §§ 363(b) (1) and (f)(4), the Trustee seeks to sell the Bend Property free and

                       2 clear of this “lien” with such disputed lien to attach to the proceeds of the sale in the same validity

                       3 and priority as prior to the sale pending agreement with the lienholder or further Court order.

                       4 Thus, approval for the sale free and clear of the lien as a disputed lien pursuant to Bankruptcy

                       5 Code § 363(f)(4) is appropriate.

                       6 C.          Request for Payment of Real Estate Commission to Broker and Other Costs.

                       7             Section 328 of the Bankruptcy Code allows employment of a professional person under

                       8 Section 327 “on any reasonable terms and conditions of employment, including on a retainer, on

                       9 an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C. §

                     10 328(a). Through this Sale Motion, the Trustee seeks authorization to pay a real estate broker

                     11 commission not exceed a total of five percent (5%) of the final purchase price to be split as

                     12 follows: 1% for the Estate, 2% for the Trustee’s Broker (Strategic Realty, LLC) and 2% for the

                     13 Selling Broker (Keller Williams Central Oregon).

                     14              In addition, the Trustee seeks approval to use proceeds from the sale to reimburse the

                     15 Broker an amount not to exceed $2,000.00 for the expenses he incurred and will incur for the

                     16 maintenance and repair of the Bend Property. This amount includes estimated final bills for

                     17 utilities that are to be paid by the Broker through closing of the sale and the cost to have the Bend

                     18 Property re-keyed. (See Bui Declaration, Ex. 4)

                     19              The Trustee also seeks approval to use proceeds from the sale of the Bend Property to pay

                     20 the Estate’s liability insurance premiums totaling approximately $14,049.10 through October 31,

                     21 2018 for the Bend Property. (See Bui Declaration, Ex. 5)

                     22 D.           The Court Has the Authority to Approve the Bidding Procedures

                     23              Implementing the Bidding Procedures is an action outside of the ordinary course of the
                     24 business. Section 363(b)(1) of the Bankruptcy Code provides that a trustee “after notice and

                     25 hearing, may use, sell or lease, other than in the ordinary course of business, property of the

                     26 estate.” 11 U.S.C. § 363(b)(1). Furthermore, under Bankruptcy Code Section 105(a), “[t]he court

                     27 may issue any order, process, or judgment that is necessary or appropriate to carry out the

                     28 provisions of this title.” 11 U.S.C. § 105(a). Thus, pursuant to Sections 363(b)(1) and 105(a) of
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                       1 the Bankruptcy Code, this Court may approve the Bidding Procedures, which will assist the

                       2 Trustee to obtain the best possible price on the best possible terms for the Bend Property.

                       3 E.          The Court Has the Authority to Waive the Fourteen-Day Stay of Sale.

                       4             Federal Rule of Bankruptcy Procedure 6004(h) provides that “[a]n order authorizing the

                       5 use, sale or lease of property other than cash collateral is stayed until the expiration of 14 days

                       6 after entry of the order, unless the Court orders otherwise.” Fed. Rule Bankr. P. 6004(h).

                       7             The Trustee desires to close the sale of the Bend Property as soon as practicable after entry

                       8 of an order approving the sale. Accordingly, the Trustee requests that the Court, in the discretion

                       9 provided it under Federal Rule of Bankruptcy Procedure 6004(h), waive the fourteen (14) day stay

                     10 requirement.

                     11                                                IV.    CONCLUSION

                     12              Based on the reasons set forth above, the Trustee respectfully request submits that good
                     13 cause exists for granting the Sale Motion and requests that the Court enter an order as follows:

                     14              1.          Approving the Bidding Procedures set forth above for the sale of the Bend
                     15 Property.

                     16              2.          Authorizing the Trustee to sell the Bend Property on an as-is, where-is basis,
                     17 without any warranties or representations, to the Buyer (or Successful Bidder) pursuant to the

                     18 terms and conditions as set forth in the Agreement attached as Exhibit “3” to the Bui Declaration.

                     19              3.          Authorizing the Trustee to sell the Personal Property to the Buyer or to Successful
                     20 Bidder.

                     21              4.          Authorizing the sale of the Bend Property and the Personal Property free and clear
                     22 of liens, with liens not satisfied through the sale to attach to the sale proceeds in the same validity

                     23 and priority as prior to the closing of the sale.

                     24              5.          Authorizing the Trustee to pay from the proceeds of the sale of the Bend Property
                     25 all ordinary and customary costs of sale, including escrow fees.

                     26              6.          Authorizing the Trustee to sign any and all documents convenient and necessary in
                     27 pursuit of the sale as set forth above, including but not limited to any and all conveyances

                     28 contemplated by the Agreement attached as Exhibit “3” to the Bui Declaration.
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                       1             7.          Approving the payment of the real estate commission in the total amount not to

                       2 exceed five percent (5%) of the purchase price.

                       3             8.          Authorizing the Trustee to pay liens, costs of sale and other expenses directly from

                       4 the sale proceeds at the close of escrow including: (i) all real estate taxes owed to the Deschutes

                       5 County Treasurer and Tax Collector, (ii) exclusive farm use tax liabilities owed to the Deschutes

                       6 County Treasurer and Tax Collector, (iii) all amounts owed to Sun Mountain Water Systems; (iv)

                       7 all amounts owed to BofA, (v) real estate commission not to exceed 5%, and (vi) escrow fees

                       8 which shall be split between Buyer and Estate in the manner customary in the County where the

                       9 Property is located (Deschutes County, Oregon).

                     10              9.          Authorizing the Trustee to use the proceeds from the sale of the Bend Property to

                     11 (i) reimburse the Broker’s costs related to the Bend Property in the amount not to exceed

                     12 $2,000.00, and (ii) pay the Estate’s liability insurance premium in the amount of $14,049.10.

                     13              10.         Determining that the Buyer is in good faith pursuant to Bankruptcy Code Section

                     14 363(m).

                     15              11.         Waiving the fourteen day stay of the order approving the sale of the Oregon Ranch

                     16 under Federal Rules of Bankruptcy Procedure 6004(h).

                     17              12.         For such other and further relief as the Court deems just and proper under the

                     18 circumstances of this case.

                     19
                                                                       Respectfully submitted,
                     20

                     21 Dated: October 2, 2018                         SHULMAN HODGES & BASTIAN LLP

                     22                                                /s/ Rika M. Kido
                                                                       ___________________________________________
                     23                                                Leonard M. Shulman
                                                                       Rika M. Kido
                     24                                                Attorneys for Lynda T. Bui, Chapter 7 Trustee
                                                                       for the bankruptcy estate of Russel Dennis Hiles, III
                     25

                     26

                     27

                     28
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                       1                                       DECLARATION OF LYNDA T. BUI

                       2             I, Lynda T. Bui, declare and state as follows:

                       3             1.          I am the duly appointed, qualified and acting Chapter 7 trustee for the bankruptcy

                       4 estate of Russel Dennis Hiles, III, Case No. 6:16-bk-16877-WJ (“Debtor”). I have personal

                       5 knowledge of the facts set forth herein, and if called and sworn as a witness, I could and would

                       6 competently testify thereto, except where matters are stated on information and belief, in which

                       7 case I am informed and believe that the facts so stated are true and correct.

                       8             2.          I am familiar with the Debtor’s bankruptcy case and make this Declaration in

                       9 support of my Motion for Order: (1) Approving the Sale of Real Property of the Estate Free and

                     10 Clear of Certain Liens Pursuant to Bankruptcy Code §§ 363(b)(1) and (f), Subject to Overbids,

                     11 Combined With Notice of Bidding Procedures and Request for Approval of the Bidding

                     12 Procedures Utilized; (2) Approving Sale of Personal Property Free and Clear of All Liens, Claims

                     13 and Encumbrances Pursuant to 11 U.S.C. § 363(f); (3) Approving Payment of Real Estate

                     14 Commission and Other Costs; and (3) Granting Related Relief (“Sale Motion”). All capitalized

                     15 terms not otherwise defined herein shall have the meaning set forth in the Sale Motion.

                     16              3.          I have read and I am aware of the contents of the Sale Motion and the

                     17 accompanying Memorandum of Points and Authorities. The facts stated in the Sale Motion and

                     18 the Memorandum of Points and Authorities are true to the best of my knowledge.

                     19              4.          The deadline for filing proofs of claim in this case was April 9, 2018. The Court’s

                     20 claims register indicates there have been thirty claims filed totaling $22,779,381.46, consisting

                     21 $3,956,552.40 in secured claims, $4,210,470.09, in priority unsecured claims, $325.00 in

                     22 administrative claims, and $14,612,033.97 in general unsecured claims.

                     23              5.          Attached hereto as Exhibit “1” is true and copy of the Preliminary Title Report

                     24 dated September 13, 2018 (“Title Report”).

                     25              6.          Pursuant to a recent Payoff Statement, I am advised that the amount due to BofA

                     26 through October 9, 2018 is $980,826.87. Attached hereto as Exhibit “2” is a true and correct

                     27 copy of the BofA Payoff Statement good through October 9, 2018.

                     28 ///
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        Suite 600
    Irvine, CA 92618                                                             18
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                       1             7.          I am informed and believe that the Debtor significantly over-stated the value of the

                       2 Personal Property.            I am informed by a local auctioneer that the Personal Property, after a

                       3 piecemeal auction sale, has a total estimated liquidation value of approximately $10,000.00 to

                       4 $25,000.00. If I were to auction the Personal Property for sale, the net to the Estate would be less

                       5 after deducting the auctioneer’s commission (25% to 50% to compensate the auctioneer for

                       6 advertising and labor costs to set up and conduct the auction).

                       7             8.          The Estate does not have the funds to obtain a formal written appraisal for the

                       8 estimated value of the Bend Property. The Broker is experienced in the sale of real property as

                       9 well as property valuations and is familiar with valuing real property in today’s economic

                     10 environment. After conducting an on-site inspection, the Broker informed me that the Bend

                     11 Property may be worth approximately $2,995,000.00 and that the Broker recommended listing the

                     12 Property for sale at $2,995,000.00.

                     13              9.          Through my Broker, I have marketed the Bend Property for over seven (7) months.

                     14 I have received only two offers for the Bend Property. The first potential buyer offered less than

                     15 the current Buyer (defined below). The offer from the Buyer that is the subject of this Sale

                     16 Motion is the best and highest offer received for the Bend Property. The Buyer’s offer is the result

                     17 of negotiations between the Buyer and I for the highest and best offer.

                     18              10.         Through my Broker I received an offer from the Buyer, Drew Hood, who has

                     19 offered to purchase the Bend Property for $1,995,000.00, subject to overbids. The purchase price

                     20 includes a deposit of $25,000.00. The Buyer has also offered to purchase the Personal Property

                     21 for $10,000.00. Attached hereto as Exhibit “3” is a true and correct copy of the Residential Real

                     22 Estate Sale Agreement and related addendum (collectively the “Agreement”).

                     23              11.         In the Sale Motion, I seek approval to use proceeds from the sale of the Bend

                     24 Property to reimburse her Broker in an amount not to exceed $2,000.00 for the expenses the

                     25 Broker incurred and will incur for maintenance and repair of the Bend Property. This amount

                     26 includes estimated final bills for utilities that are to be paid by the Broker through closing and the

                     27 cost of re-keying the Bend Property. Attached hereto Exhibit “4” are true and correct copies of

                     28
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        Suite 600
    Irvine, CA 92618                                                              19
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                                        Exhibit 1

                                      Title Report




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                                          PRELIMINARY REPORT

In response to the application for a policy of title insurance referenced herein Western Title & Escrow Company
hereby reports that it is prepared to issue, or cause to be issued, as of the specified date, a policy or policies of
title insurance describing the land and the estate or interest hereinafter set forth, insuring against loss which may
be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein or not
excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of said
policy forms.

The printed Exceptions and Exclusions from the coverage of said policy or policies are set forth in Exhibit One.
The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less than that set
forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or the
Insured as the exclusive remedy of the parties. Copies of the policy forms should be read. They are available
from the office which issued this report.

This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby.

The policy(s) of title insurance to be issued hereunder will be policy(s) of Fidelity National Title Insurance
Company, a/an Florida corporation.

Please read the exceptions shown or referred to herein and the Exceptions and Exclusions set forth in
Exhibit One of this report carefully. The Exceptions and Exclusions are meant to provide you with notice
of matters which are not covered under the terms of the title insurance policy and should be carefully
considered.

It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.

This preliminary report is for the exclusive use of the parties to the contemplated transaction, and the Company
does not have any liability to any third parties nor any liability until the full premium is paid and a policy is issued.
Until all necessary documents are placed of record, the Company reserves the right to amend or supplement this
preliminary report.

Countersigned




Preliminary Report                                                                                Printed: 09.18.18 @ 04:57 PM
                                                                                 OR-FT-FFND-02785.470073-SPS-1-18-WT0161795



                                                                                                      EXHIBIT 1
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                                    360 SW Bond Street, Suite 100, Bend, OR 97702
                                         (541)389-5751 FAX (541)330-1242

                                            PRELIMINARY REPORT
ESCROW OFFICER: Christina A. Moore                                                     ORDER NO.: WT0161795
                christina.moore@westerntitle.com                                    Revision 2 (Update 12 and 13,
                541-330-1214                                                                     delete 17 and 21)
TITLE OFFICER:             Dave I. Hemmerling
                           Email: titleofficersupport@westerntitle.com
TO: Western Title & Escrow Company
    360 SW Bond Street, Suite 100
    Bend, OR 97702
ESCROW LICENSE NO.: 870700109
OWNER/SELLER: Lynda T. Bui
BUYER/BORROWER: Drew Hood
PROPERTY ADDRESS: 66876 Gist Road (Parcel 3), Bend, OR 97703
                   17265 Plainview Road (Parcel 2), Bend, OR 97703
                   17345 Plainview Road (Parcel 1), Bend, OR 97703
                   66822 Gist Road (Parcel 3), Bend, OR 97703

EFFECTIVE DATE: September 13, 2018, 05:00 PM
1. THE POLICY AND ENDORSEMENTS TO BE ISSUED AND THE RELATED CHARGES ARE:
                                                                                      AMOUNT                PREMIUM
     ALTA Owner's Policy 2006                                                $      1,995,000.00        $    3,593.00
        Owner's Standard
     ALTA Loan Policy 2006                                                   $      1,200,000.00        $       820.00
        Extended Lender's
        Proposed Insured: Blue Ridge Bank and Trust Co.
     OTIRO 209.10-06 - Restrictions, Encroachments, Minerals - Current                                  $       100.00
     Violations (ALTA 9.10-06)
     OTIRO 222-06 - Location (ALTA 22-06)                                                               $          0.00
     OTIRO 208.1-06 - Environmental Protection Lien (ALTA 8.1-06)                                       $         0.00
     Government Lien Search                                                                             $       100.00
2. THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO COVERED
   BY THIS REPORT IS:
     Fee Simple
3. TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:
     Russel D. Hiles
4. THE LAND REFERRED TO IN THIS REPORT IS SITUATED IN THE CITY OF BEND, COUNTY OF
   DESCHUTES, STATE OF OREGON, AND IS DESCRIBED AS FOLLOWS:
     SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF

Preliminary Report                                                                           Printed: 09.18.18 @ 04:57 PM
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                                                                                                 EXHIBIT 1
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                                                                            Order No.: WT0161795
                                                     Revision 2 (Update 12 and 13, delete 17 and 21)

                               PRELIMINARY REPORT
                                       (continued)




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                                                 EXHIBIT "A"
                                                Legal Description


Parcel 1:

A Parcel of land situated in the Southwest Quarter (SW1/4) of Section 31, Township 15 South, Range 11, East of
the Willamette Meridian, Deschutes County, Oregon, described as follows:

That portion of the Southeast Quarter of the Southwest Quarter (SE1/4 SW1/4) of said Section 31, lying South of
Plainview Road and lying West of Sisemore Road and lying North of that certain parcel of land described in
Volume 132, Page 421, of Deed Records.

Parcel 2:

Parcel 2 of Partition Plat No. 2000-55, Plat filed October 13, 2000 in the office of the County Clerk for Deschutes
County, Oregon.

Parcel 3:

Parcel 1 of Partition Plat 2000-55, Plat filed October 13, 2000 in the office of the County Clerk for Deschutes
County, Oregon.




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AS OF THE DATE OF THIS REPORT, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN
ADDITION TO THE PRINTED EXCEPTIONS AND EXCLUSIONS IN THE POLICY FORM WOULD BE AS
FOLLOWS:

           GENERAL EXCEPTIONS:

1.         Taxes or assessments which are not shown as existing liens by the records of any taxing authority that
           levies taxes or assessments on real property or by the Public Records; proceedings by a public agency
           which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the
           records of such agency or by the Public Records.

2.         Any facts, rights, interests or claims, which are not shown by the Public Records but which could be
           ascertained by an inspection of the Land or by making inquiry of persons in possession thereof.

3.         Easements, or claims of easement, which are not shown by the Public Records; reservations or
           exceptions in patents or in Acts authorizing the issuance thereof; water rights, claims or title to water.

4.         Any encroachment (of existing improvements located on the Land onto adjoining land or of existing
           improvements located on adjoining land onto the subject Land), encumbrance, violation, variation or
           adverse circumstance affecting the Title that would be disclosed by an accurate and complete land
           survey of the subject Land.

5.         Any lien or right to a lien for services, labor, material, equipment rental or workers compensation
           heretofore or hereafter furnished, imposed by law and not shown by the Public Records.

           SPECIFIC ITEMS AND EXCEPTIONS:

6.         Property taxes in an undetermined amount, which are a lien but not yet payable, including any
           assessments collected with taxes to be levied for the fiscal year 2018-2019.

7.         Unpaid Property Taxes are as follows:

           Fiscal Year:         2015-2016
           Amount:              $27.15, plus interest, if any

           Fiscal Year:         2016-2017
           Amount:              $28.96, plus interest, if any

           Fiscal Year:         2017-2018
           Amount:              $29.39, plus interest, if any
           Levy Code:           6012
           Account No.:         169610
           Map No.:             1511310000099
           (Parcel 1)




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           Unpaid Property Taxes are as follows:

           Fiscal Year:         2014-2015
           Original Amount:     $1,813.18, plus interest, if any
           Balance Due:         $16.12

           Fiscal Year:         2015-2016
           Amount:              $1,934.79, plus interest, if any

           Fiscal Year:         2016-2017
           Amount:              $2,064.77, plus interest, if any

           Fiscal Year:         2017-2018
           Amount:              $2,098.32, plus interest, if any
           Levy Code:           6012
           Account No.:         201617
           Map No.:             1511310002201
           (Parcel 2)

           Prior to close of escrow, please contact the Tax Collector's Office to confirm all amounts owing, including
           current fiscal year taxes, supplemental taxes, escaped assessments and any delinquencies.

8.         Note: Property taxes for the fiscal year shown below are paid in full.

           Fiscal Year:         2017-2018
           Amount:              $18,554.87
           Levy Code:           6012
           Account No.:         130924
           Map No.:             1511310002200
           (Parcel 3)

           Note: Property taxes for the fiscal year shown below are paid in full.

           Fiscal Year:         2017-2018
           Amount:              $1,966.76
           Levy Code:           6012
           Account No.:         130923
           Map No.:             1513310002300
           (Parcel 3)

9.         As disclosed by the assessment and tax roll, the premises herein were once specially assessed for
           farmland, forestland or other special assessment status and later disqualified. Per ORS 308A.700 to
           308A.733, additional taxes were imposed and remain as potential additional tax liability for the property. A
           check with the Assessor's office will be necessary to determine the effect and continuation of the
           additional tax liability.

           Potential Additional Tax Liability Amount: $34,315.34
           (Parcel 3)




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10.        As disclosed by the assessment and tax roll, the premises herein were once specially assessed for
           farmland, forestland or other special assessment status and later disqualified. Per ORS 308A.700 to
           308A.733, additional taxes were imposed and remain as potential additional tax liability for the property. A
           check with the Assessor's office will be necessary to determine the effect and continuation of the
           additional tax liability.

           Additional Tax Liability Amount: $11,643.43
           (Parcel 3)


11.        Regulations, including levies, liens, assessments, water and easements of the Sun Mountain Water
           Systems, Inc.

12.        Rights of the public to any portion of the Land lying within the area commonly known as streets or
           highways.
           (Affects Parcel I)


13.        The existence of roads, railroads, irrigation ditches and canals, telephone, telegraph and power
           transmission facilities.
           (Affects Parcel I)


14.        A 30' easement along the existing water lines for utility and maintenance purposes, as disclosed in
           Quitclaim Deed

           Recording Date:      August 10, 1983
           Recording No.:       22-926
           (Affects Parcel 1)

15.        An easement which grants "Sun Mountain Water System, Inc.", the right to ingress and egress over and
           across said parcel(s) of land for the purpose of maintenance and upkeep of the existing "Sun Mountain
           Water System, Inc.," water storage and distribution system, as disclosed in Warranty Deed

           Recording Date:      November 21, 1988
           Recording No.:       174-1456

16.        Subject to the rights of those who benefit by existing "Three Creeks Water Rights" for ingress and egress
           over and across said parcel of land(s) for the purpose of maintenance and upkeep of the reservoir and
           ditch system, as disclosed in Warranty Deed

           Recording Date:      November 21, 1988
           Recording No.:       174-1456

17.        [Intentionally Deleted]

18.        Terms, provisions and conditions, including, but not limited to, maintenance provisions, and a covenant to
           share the costs of maintenance, contained in Utilities Easement

           Recording Date:      August 15, 2002
           Recording No.:       2002-44355
           (Parcel 3)




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19.        A deed of trust to secure an indebtedness in the amount shown below,

           Amount:              $862,500.00
           Dated:               September 17, 2008
           Trustor/Grantor:     Russel D. Hiles
           Trustee:             First American Title Insurance Company
           Beneficiary:         Bank of America, NA
           Loan No.:            6499152996
           Recording Date:      September 23, 2008
           Recording No.:       2008-38837
           (Affects Parcel 3)

20.        Farm and Forest Management Easement-Replacement Dwellilng

           Recording Date:      September 30, 2010
           Recording No.:       2010-38663
           (Affects Parcel 3)

21.        [Intentionally Deleted]

22.        A pending court action:

           Plaintiff:           Farmers Insurance Exchange, an inter-insurance exchange
           Defendant:           Russel D. Hiles
           County:              Deschutes
           Court:               Circuit
           Case No.:            16CV20120
           Dated Filed:         June 24, 2016
           Nature of Action:    Fraudulent Transfer, Provisional Process

23.        Any matters arising out of or by virtue of that certain bankruptcy case:

           Name of Debtor:           Russel Dennis Hiles, III
           Date of Filing:           August 1, 2016
           U. S. District Court:     Central
           State:                    California
           Case No.:                 6:16-bk-16877-WJ
           Chapter:                  7
           Attorney:                 Robert P. Goe & Charity J. Miller, Goe & Forsythe LLP
           Attorney’s Address:       18101 Von Karman, Ste 1200, Irvine, CA 92612
           Attorney’s Phone No:      949-798-2460
           Name of Trustee:          Lynda T. Bui

           ADDITIONAL REQUIREMENTS/NOTES:

A.         Notice: Please be aware that due to the conflict between federal and state laws concerning the
           cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
           transaction involving Land that is associated with these activities.

B.         In addition to the standard policy exceptions, the exceptions enumerated above shall appear on the final
           2006 ALTA Policy unless removed prior to issuance.




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C.         Note: There are no matters against the party(ies) shown below which would appear as exceptions to
           coverage in a title insurance product:

           Parties: Drew Hood

D.         Note: There are NO conveyances affecting said Land recorded within 24 months of the date of this
           report.

E.         If requested to issue an extended coverage ALTA loan policy, the following matters must be addressed:

           a) The rights of tenants holding under unrecorded leases or tenancies
           b) Matters disclosed by a statement as to parties in possession and as to any construction, alterations
           or
              repairs to the Land within the last 75 days. The Company must be notified in the event that any funds
              are to be used for construction, alterations or repairs.
           c) Any facts which would be disclosed by an accurate survey of the Land

F.         THE FOLLOWING NOTICE IS REQUIRED BY STATE LAW: YOU WILL BE REVIEWING, APPROVING
           AND SIGNING IMPORTANT DOCUMENTS AT CLOSING. LEGAL CONSEQUENCES FOLLOW FROM
           THE SELECTION AND USE OF THESE DOCUMENTS. YOU MAY CONSULT AN ATTORNEY ABOUT
           THESE DOCUMENTS. YOU SHOULD CONSULT AN ATTORNEY IF YOU HAVE QUESTIONS OR
           CONCERNS ABOUT THE TRANSACTION OR ABOUT THE DOCUMENTS. IF YOU WISH TO REVIEW
           TRANSACTION DOCUMENTS THAT YOU HAVE NOT SEEN, PLEASE CONTACT THE ESCROW
           AGENT.

G.         Note: No utility search has been made or will be made for water, sewer or storm drainage charges
           unless the City/Service District claims them as liens (i.e. foreclosable) and reflects them on its lien docket
           as of the date of closing. Buyers should check with the appropriate city bureau or water service district
           and obtain a billing cutoff. Such charges must be adjusted outside of escrow.

H.         Note: This map/plat is being furnished as an aid in locating the herein described Land in relation to
           adjoining streets, natural boundaries and other land. Except to the extent a policy of title insurance is
           expressly modified by endorsement, if any, the Company does not insure dimensions, distances or
           acreage shown thereon.

I.         Note: Recording charge per document for:
           Deschutes County - $93.00 for the first page, $5.00 for each additional page

           E-recording fee is an additional $5.00 per document

           Send Recording Packages to:
           Western Title & Escrow Company
           Attention: Recording
           360 SW Bond, Suite 100
           Bend, OR 97702
           Email: desrecording@westerntitle.com




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                                                                                    EXHIBIT ONE
                                                   2006 AMERICAN LAND TITLE ASSOCIATION LOAN POLICY (06-17-06)
                                                                  EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the                  (c) resulting in no loss or damage to the Insured Claimant;
Company will not pay loss or damage, costs, attorneys' fees or expenses that arise by                  (d) attaching or created subsequent to Date of Policy (however, this does not modify
reason of:                                                                                                 or limit the coverage provided under Covered Risk 11, 13, or 14); or
1. (a) Any law, ordinance or governmental regulation (including but not limited to                     (e) resulting in loss or damage that would not have been sustained if the Insured
        building and zoning) restricting, regulating, prohibiting or relating to                           Claimant had paid value for the Insured Mortgage.
        (i) the occupancy, use, or enjoyment of the Land;                                         4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure
        (ii) the character, dimensions or location of any improvement erected on the land;             of an Insured to comply with the applicable doing-business laws of the state where
        (iii) the subdivision of land; or                                                              the Land is situated.
        (iv) environmental protection;                                                            5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that
        or the effect of any violation of these laws, ordinances or governmental                       arises out of the transaction evidenced by the Insured Mortgage and is based upon
        regulations. This Exclusion 1(a) does not modify or limit the coverage provided                usury or any consumer credit protection or truth-in-lending law.
        under Covered Risk 5.                                                                     6.   Any claim, by reason of the operation of federal bankruptcy, state insolvency or
   (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the                 similar creditors' rights laws, that the transaction creating the lien of the Insured
        coverage provided under Covered Risk 6.                                                        Mortgage, is
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage                      (a) a fraudulent conveyance or fraudulent transfer, or
   provided under Covered Risk 7 or 8.                                                                 (b) a preferential transfer for any reason not stated in the Covered Risk 13(b) of this
3. Defects, liens, encumbrances, adverse claims, or other matters                                          policy.
   (a) created, suffered, assumed or agreed to by the Insured Claimant;                           7.   Any lien on the Title for real estate taxes or assessments imposed by governmental
   (b) not known to the Company, not recorded in the Public Records at Date of Policy,                 authority and created or attaching between Date of Policy and the date of recording of
        but known to the Insured Claimant and not disclosed in writing to the Company by               the Insured Mortgage in the Public Records. This Exclusion does not modify or limit
        the Insured Claimant prior to the date the Insured Claimant became an Insured                  the coverage provided under Covered Risk 11(b).
        under this policy;

                                  The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above
                     Exclusions from Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage.

                                                         SCHEDULE B - GENERAL EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any               4. Any encroachment, encumbrance, violation, variation, or adverse circumstance
   taxing authority that levies taxes or assessments on real property or by the Public               affecting the Title that would be disclosed by an accurate and complete land survey of
   Records; proceedings by a public agency which may result in taxes or assessments,                 the Land. The term "encroachment" includes encroachments of existing
   or notices of such proceedings, whether or not shown by the records of such agency                improvements located on the Land onto adjoining land, and encroachments onto the
   or by the Public Records.                                                                         Land of existing improvements located on adjoining land.
2. Facts, rights, interests or claims which are not shown by the Public Records but which         5. Any lien for services, labor or material heretofore or hereafter furnished, or for
   could be ascertained by an inspection of the Land or by making inquiry of persons in              contributions due to the State of Oregon for unemployment compensation or worker's
   possession thereof.                                                                               compensation, imposed by law and not shown by the Public Records.
3. Easements, or claims of easement, not shown by the Public Records; reservations or
   exceptions in patents or in Acts authorizing the issuance thereof, water rights, claims
   or title to water.

                                                2006 AMERICAN LAND TITLE ASSOCIATION OWNER'S POLICY (06-17-06)
                                                                EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the                (b) not known to the Company, not recorded in the Public Records at Date of Policy,
Company will not pay loss or damage, costs, attorneys' fees or expenses that arise by                    but known to the Insured Claimant and not disclosed in writing to the Company by
reason of:                                                                                               the Insured Claimant prior to the date the Insured Claimant became an Insured
1. (a) Any law, ordinance or governmental regulation (including but not limited to                       under this policy;
        building and zoning) restricting, regulating, prohibiting or relating to                     (c) resulting in no loss or damage to the Insured Claimant;
        (i) the occupancy, use, or enjoyment of the Land;                                            (d) attaching or created subsequent to Date of Policy (however, this does not modify
        (ii) the character, dimensions or location of any improvement erected on the land;               or limit the coverage provided under Covered Risk 9 and 10); or
        (iii) the subdivision of land; or                                                            (e) resulting in loss or damage that would not have been sustained if the Insured
        (iv) environmental protection;                                                                   Claimant had paid value for the Title.
        or the effect of any violation of these laws, ordinances or governmental                  4. Any claim, by reason of the operation of federal bankruptcy, state insolvency or
        regulations. This Exclusion 1(a) does not modify or limit the coverage provided              similar creditors' rights laws, that the transaction creating the lien of the Insured
        under Covered Risk 5.                                                                        Mortgage, is
   (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the               (a) a fraudulent conveyance or fraudulent transfer, or
        coverage provided under Covered Risk 6.                                                      (b) a preferential transfer for any reason not stated in the Covered Risk 9 of this
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage                        policy.
   provided under Covered Risk 7 or 8.                                                            7. Any lien on the Title for real estate taxes or assessments imposed by governmental
3. Defects, liens, encumbrances, adverse claims, or other matters                                    authority and created or attaching between Date of Policy and the date of recording of
   (a) created, suffered, assumed or agreed to by the Insured Claimant;                              the deed or other instrument of transfer in the Public Records that vests Title as
                                                                                                     shown in Schedule A.

                                  The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above
                     Exclusions from Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage.

                                                         SCHEDULE B - GENERAL EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any               4. Any encroachment, encumbrance, violation, variation, or adverse circumstance
   taxing authority that levies taxes or assessments on real property or by the Public               affecting the Title that would be disclosed by an accurate and complete land survey of
   Records; proceedings by a public agency which may result in taxes or assessments,                 the Land. The term "encroachment" includes encroachments of existing
   or notices of such proceedings, whether or not shown by the records of such agency                improvements located on the Land onto adjoining land, and encroachments onto the
   or by the Public Records.                                                                         Land of existing improvements located on adjoining land.
2. Facts, rights, interests or claims which are not shown by the Public Records but which         5. Any lien for services, labor or material heretofore or hereafter furnished, or for
   could be ascertained by an inspection of the Land or by making inquiry of persons in              contributions due to the State of Oregon for unemployment compensation or worker's
   possession thereof.                                                                               compensation, imposed by law and not shown by the Public Records.
3. Easements, or claims of easement, not shown by the Public Records; reservations or
   exceptions in patents or in Acts authorizing the issuance thereof, water rights, claims
   or title to water.




Preliminary Report (Exhibit One)                                                                                                                      Printed: 09.18.18 @ 04:58 PM
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                                                          WIRE FRAUD ALERT
                                     This Notice is not intended to provide legal or professional advice.
                                          If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non-exclusive self-protection strategies are recommended to minimize exposure to possible wire
fraud.

    NEVER RELY on emails purporting to change wire instructions.                                 Parties to a transaction rarely change wire
     instructions in the course of a transaction.

    ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
     who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
     use phone numbers you have called before or can otherwise verify. Obtain the number of relevant parties to the
     transaction as soon as an escrow account is opened. DO NOT send an email to verify as the email address may
     be incorrect or the email may be intercepted by the fraudster.

    USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make your
     passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
     password for other online accounts.

    USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
     instructions on how to implement this feature.

For more information on wire-fraud scams or to report an incident, please refer to the following links:

           Federal Bureau of Investigation:                                                    Internet Crime Complain Center:
                  http://www.fbi.gov                                                                   http://www.ic3.gov




Wire Fraud Alert
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                        WT0161795-CAM - WIRE0016 (DSI Rev. 12/07/17)
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                                       FIDELITY NATIONAL FINANCIAL
                                              PRIVACY NOTICE
                                            Revised May 1, 2018
Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, "FNF", "our," or "we")
respect and are committed to protecting your privacy. This Privacy Notice explains how we collect, use, and
protect personal information, when and to whom we disclose such information, and the choices you have about
the use and disclosure of that information.
Types of Information Collected
We may collect two types of information from you: Personal Information and Browsing Information.
Personal Information. FNF may collect the following categories of Personal Information:
• contact information (e.g., name, address, phone number, email address);
• demographic information (e.g., date of birth, gender, marital status);
• identity information (e.g. Social Security Number, driver's license, passport, or other government ID number);
• financial account information (e.g. loan or bank account information); and
• other personal information necessary to provide products or services to you.
Browsing Information. FNF may automatically collect the following types of Browsing Information when you
access an FNF website, online service, or application (each an "FNF Website") from your Internet browser,
computer, and/or mobile device:
• Internet Protocol (IP) address and operating system;
• browser version, language, and type;
• domain name system requests; and
• browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the
   pages within the FNF Website.
How Personal Information is Collected
We may collect Personal Information about you from:
• information we receive from you on applications or other forms;
• information about your transactions with FNF, our affiliates, or others; and
• information we receive from consumer reporting agencies and/or governmental entities, either directly from
   these entities or through others.
How Browsing Information is Collected
If you visit or use an FNF Website, Browsing Information may be collected during your visit. Like most websites,
our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to
improve our websites. Browsing Information generally does not reveal anything personal about you, though if you
have created a user account for an FNF Website and are logged into that account, the FNF Website may be able
to link certain browsing activity to your user account.
Other Online Specifics
Cookies. When you visit an FNF Website, a "cookie" may be sent to your computer. A cookie is a small piece of
data that is sent to your Internet browser from a web server and stored on your computer's hard drive.
Information gathered using cookies helps us improve your user experience. For example, a cookie can help the
website load properly or can customize the display page based on your browser type and user preferences. You
can choose whether or not to accept cookies by changing your Internet browser settings. Be aware that doing so
may impair or limit some functionality of the FNF Website.
Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This
information is used to improve our websites.
Do Not Track. Currently our FNF Websites do not respond to "Do Not Track" features enabled through your
browser.
Links to Other Sites. FNF Websites may contain links to other websites. FNF is not responsible for the privacy
practices or the content of any of those other websites. We advise you to read the privacy policy of every website
you visit.

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Use of Personal Information
FNF uses Personal Information for three main purposes:
• To provide products and services to you or in connection with a transaction involving you.
• To improve our products and services.
• To communicate with you about our, our affiliates', and third parties' products and services, jointly or
   independently.
When Information Is Disclosed
We may make disclosures of your Personal Information and Browsing Information in the following circumstances:
• to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
• to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to
    use the information only to provide such services or functions;
• to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement
    with them to jointly market financial products or services to you;
• to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court
    order; or
• in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to
    protect the rights, property, or safety of FNF, its customers, or the public.
The law does not require your prior authorization and does not allow you to restrict the disclosures described
above. Additionally, we may disclose your information to third parties for whom you have given us authorization or
consent to make such disclosure. We do not otherwise share your Personal Information or Browsing Information
with nonaffiliated third parties, except as required or permitted by law.
We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in
connection with the sale or other disposition of all or part of the FNF business and/or assets, or in the event of
bankruptcy, reorganization, insolvency, receivership, or an assignment for the benefit of creditors. By submitting
Personal Information and/or Browsing Information to FNF, you expressly agree and consent to the use and/or
transfer of the foregoing information in connection with any of the above described proceedings.
Please see "Choices With Your Information" to learn the disclosures you can restrict.
Security of Your Information
We maintain physical, electronic, and procedural safeguards to guard your Personal Information. We limit access
to nonpublic personal information about you to employees who need to know that information to do their job.
When we provide Personal Information to others as discussed in this Privacy Notice, we expect that they process
such information in compliance with our Privacy Notice and in compliance with applicable privacy laws.
Choices With Your Information
If you do not want FNF to share your information with our affiliates to directly market to you, you may send an "opt
out" request by email, phone, or physical mail as directed at the end of this Privacy Notice. We do not share your
Personal Information with nonaffiliates for their use to direct market to you.
Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not
to submit Personal Information or Browsing Information, FNF may not be able to provide certain services or
products to you.
For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
third parties, except as permitted by California law.
For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by
contacting us via the information set forth at the end of this Privacy Notice. Nevada law requires that we also
provide you with the following contact information: Bureau of Consumer Protection, Office of the Nevada Attorney
General, 555 E. Washington St., Suite 3900, Las Vegas, NV 89101; Phone number: (702) 486-3132; email:
BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
third parties for marketing purposes, except after you have been informed by us of such sharing and had an
opportunity to indicate that you do not want a disclosure made for marketing purposes.



Preliminary Report                                                                             Printed: 09.18.18 @ 04:58 PM
                                                                              OR-FT-FFND-02785.470073-SPS-1-18-WT0161795



                                                                                                   EXHIBIT 1
    Case 6:16-bk-16877-WJ            Doc 356 Filed 10/02/18 Entered 10/02/18 13:33:10                           Desc
                                      Main Document    Page 35 of 55


For Vermont Residents: We will not disclose information about you creditworthiness to our affiliates and will not
disclose your personal information, financial information, credit report, or health information to nonaffiliated third
parties to market to you, other than as permitted by Vermont law, unless you authorize us to make those
disclosures.
Information From Children
The FNF Websites are meant for adults and are not intended or designed to attract persons under the age of
eighteen (18). We do not collect Personal Information from any person that we know to be under the age of
thirteen (13) without permission from a parent or guardian.
International Users
FNF's headquarters is located within the United States. If you reside outside the United States and choose to
provide Personal Information or Browsing Information to us, please note that we may transfer that information
outside of your country of residence for any of the purposes described in this Privacy Notice. By providing FNF
with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of
such information in accordance with this Privacy Notice.
FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect
customer information on behalf of mortgage loan servicers (the "Service Websites"). The Service Websites may
contain links to both this Privacy Notice and the mortgage loan servicer or lender's privacy notice. The sections
of this Privacy Notice titled When Information is Disclosed, Choices with Your Information, and Accessing and
Correcting Information do not apply to the Service Websites. The mortgage loan servicer or lender's privacy
notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal
Information collected through the Service Websites, except (1) as required or authorized by contract with the
mortgage loan servicer or lender, or (2) as required by law or in the good-faith belief that such disclosure is
necessary to comply with a legal process or applicable law, to enforce this Privacy Notice, or to protect the rights,
property, or safety of FNF or the public.
Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of
the information in accordance with this Privacy Notice. We may change this Privacy Notice at any time. The
revised Privacy Notice, showing the new revision date, will be posted on the FNF Website. Each time you
provide information to us following any amendment of this Privacy Notice, your provision of information to us will
signify your assent to and acceptance of the terms of the revised Privacy Notice for all previously collected
information and information collected from you in the future. We may use comments, information or feedback that
you submit to us in any manner that we may choose without notice or compensation to you.
Accessing and Correcting Information; Contact Us
If you have questions, would like to access or correct your Personal Information, or want to opt-out of information
sharing for affiliate marketing, send your requests via email to privacy@fnf.com, by phone to (888) 934-3354, or
by mail to:
                                           Fidelity National Financial, Inc.
                                               601 Riverside Avenue,
                                             Jacksonville, Florida 32204
                                             Attn: Chief Privacy Officer




Preliminary Report                                                                              Printed: 09.18.18 @ 04:58 PM
                                                                               OR-FT-FFND-02785.470073-SPS-1-18-WT0161795



                                                                                                    EXHIBIT 1
         Case 6:16-bk-16877-WJ   Doc 356 Filed 10/02/18 Entered 10/02/18 13:33:10   Desc
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                                        Exhibit 2

                           Bank of America Payoff




5401-000\1265036.1
BankofAmerica-WestRL    9/28/2018
     Case 6:16-bk-16877-WJ  Doc 356 7:17:46   AM
                                      Filed 10/02/18PAGE    2/004
                                                      Entered 10/02/18888-294-5658
                                                                       13:33:10 Desc
                                              Main Document              Page 37 of 55
                                                                                                            C3 3547 53101.1 21279 01/12/2018

       Bank of America                                                                                    PAYOFF STATEMENT
             Home Loans
                                                                                               Good Through Date and/or
       Payoff Deparftnen1                                                                      Proposed Closing Date
       Tampa Mall Services
       PO Box 31785                                                                            October 9, 2018
       Tampa, FL 33631-378.5
                                                                                                 Statement Date
                                                                                                 September 25. 2018
                                                                                                      --
                                                                                                 Bank of America, N.A.
        TONIA WOOTE.N
        3750 UNIVERSITY AVE, STE 670                                                             Loan No.:             317-9
        RIVERSIDE, CA 92501


                                                                                              [ Name & Property Address:
                                                                                                Russel l) Hiles
                                                                                                66876 & 66822 Gist Rd
                                                                                                Bend. OR 97701


                                                                                                              Faxed to: 1-949-340-3000
                                                      This loan is in Bankruptcy
                                                                   (CONV-JUM L30)


      PAYOFF CALCULATION
                                   Principal Balance as of 03/01/2016                                                     $783,134.56
                                   Interest from 03101/2016 to 10/09/2018                                                  150,469.20
                                   County Recording Fee*                                                                        93.00
                                   Uncollected Late Charges                                                                    893.55
                                   Other Amounts Due(2,                                                                        750.00
                                   Escrow Balance Due                                                                       45,486.56
                   Total Amount Required to Release Lien (As of October 9, 2018)                                          $980,826.87
       (4 Other Amounts Due details can be found in the "Other Amounts Due" table below.

       *For California properties this includes the Building Homes and Jobs Act fee of $75.

         ,    Amended Payoff Statements are sent automatically if the total amount due increases before OCTOBER 9, 2018.
       To provide you with the convenience of an extended 'Statement Void Aft& date, the Total Amount Due may include estimated
       fees, costs, additional payments and/or escrow disbursements that will become due prior to the 'Statement Void Affe? date, but
       which are not yet due as of the date this Payoff Statement is issued. You will receive a refund if you pay the Total Amount Due and
       those anticipated fees, expenses, or payments have not been incurred.

     { INTEREST CALCULATIONS
       For all full month payment periods, interest is calculated on a monthly basis. Accordingly, interest for all full months, including
       February, is calculated as 301360 of annual interest, irrespective of the actual number of days in the month. For partial months,
       interest is calculated daily on the basis of a 365 day year.
       Adjustable rate mortgage loans may have more than one interest rate in effect during the period in which this payoff
       statement applies. Amended payoff statements are sent automatically if the total amount due increases before October 9,
       2018.
              Daily Interest'"                        From                              To                          Interest Rate
                  158.2360                          10/01/2018                      10/09/2018                          7.3750
       "Daily Interest = Principal Balance x Interest Rate -•-•
                                                             365                                                 EXHIBIT 2
         Case 6:16-bk-16877-WJ   Doc 356 Filed 10/02/18 Entered 10/02/18 13:33:10   Desc
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                                        Exhibit 3

                             Purchase Agreement




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             Case ID: COABC657-7DF8-47EF-B9BB-EB4996D093A8
                      6:16-bk-16877-WJ Doc 356                             Filed 10/02/18 Entered 10/02/18 13:33:10                                                      Desc
                                                                   Main Document     Page 39 of 55
                          OREF                                                                                                            Sale Agreement # 07072018NJ


                                                               CONTINGENT RIGHT TO PURCHASE
    1   Buyer(s) Drew Hood and/or assigns
    2   Seller(s) Lynda T. Bui, trustee
    3   Property Address 66876 Gist Rd., Bend, OR 97703                                                                                                             ("Seller's Property")

   4    1.    The Contingency
   5          This transaction is contingent upon the sale and closing of Buyer's real property ("the Contingency") located at:
   6          64155 Hunnell Rd., Bend OR 97703                                                                                                                     ("Buyer's Property").
    7   2.    Status of Listing of Buyer's Property. Select one:
    8               E Buyer's Property is currently listed for sale with a licensed real estate agent where said Property is located:
    9               X Buyer's Property will be listed for sale with a licensed real estate agent where said Property is located, within 7 business days (three
   10               [3] if not filled in) after Seller has signed and accepted the Sale Agreement.
   11         Buyer agrees to keep Buyer's Property continuously listed until the transaction is closed, or terminated, whichever first occurs, and Buyer will
   12         promptly provide Seller, upon request, with reasonable written evidence thereof. Unless the parties otherwise agree in writing, Buyer's failure to
   13         comply with any of the above representations shall result in the automatic termination of the transaction, and Buyer's earnest money deposit
   14         shall thereupon be promptly refunded, and Seller may thereupon commence marketing the Property for sale through the applicable MLS.
   15   3.    Acknowledgement o Related Forms and Additional Terms. OREF-083A ("Notice to Seller") and OREF-083B ("Notice to Buyer") contain
   16         certain additional terms under which this transaction will continue. Those new terms are set forth in "Alternative One" and "Alternative Two" in
   17         both Notices. By their signatures below, Buyer and Seller acknowledge that they have reviewed and understand them. If not fully understood,
   18         the parties should first obtain clarification through their respective Agents.

  19    4.     No Buyer Waiver of Contingency. Except as provided in both Notices, or as otherwise agreed in writing by the parties, the Contingency may
  20           not be waived by Buyer.

  21    5.    Bumpable Status. Prior to Buyer's delivery of the Notice to Seller on or before the Contingency Deadline, as defined at Section 6, below, or
  22          Seller's delivery of the Notice to Buyer pursuant to Section 6, below, Seller's Property may remain on the market in a "Bumpable", or
  23          "active/contingent" status, or words to that effect, on the applicable multiple listing service.
  24    6.    Buyer Delivery of Notice to Seller by Contingency Deadline.
  25          Unless Seller has received another offer to purchase Seller's Property that is acceptable to Seller, as described at Section 7 below, Buyer shall
  26          deliver the Notice to Seller on or before 5:00 p.m. on see additional                       ("Contingency Deadline"), stating whether or not Buyer
  27          has an accepted written offer on Buyer's Property, in which case Seller's Property shall thereafter show as "Pending" (or words to that effect) on
  28          the applicable multiple listing service. However, Buyer's failure to timely deliver said Notice on or before the Contingency Deadline shall result
  29          in the automatic termination of this transaction, and Buyer's earnest money deposit shall thereupon be promptly refunded.

  30    7.    Seller Receives Another Written Offer Acceptable To Seller.
  31          If, prior to the Contingency Deadline and Buyer's delivery of the Notice to Seller, Seller receives another written offer to purchase Seller's Property
  32          acceptable to Seller, Seller shall promptly deliver the Notice to Buyer. Upon delivery of said Notice, Buyer shall have until 5:00 p.m.        calendar
  33          days (one [1] if not filled in) ("Buyer's Response Deadline") within which to sign and return said Notice to Buyer notifying Seller of Buyer's selection
  34          of Alternative One, Alternative Two, or Termination. If Buyer timely responds to Seller's Notice to Buyer on or before Buyer's Response Deadline,
  35          this transaction shall remain in full force and effect, and Seller's Property shall thereafter show as "Pending" (or words to that effect) on the
  36          applicable multiple listing service. Buyer's selection of Termination on the Notice to Buyer, or Buyer's failure to timely deliver Notice to Buyer on
  37          or before Buyer's Response Deadline, shall result in the automatic termination of this transaction, and Buyer's earnest money deposit shall
  38          thereupon be promptly refunded.




                                DS
                           ii
        Buyer Initial                           Date8/6/2018 1:12.09 PM PDT                                             Seller Initials                          Date8/2/2018 I 1./1:21
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                                                                                                                                  Page 1 of 2
    Strategic Realty LLC, 141 NW Greenwood Me., Ste. 100 Bend OR 97702                                                   Phone: 541-678-0756        Fax: 888-993-2345          66876 Gist Rd.
    Josh Hansen                               Produced with zipForm® by zipLogix 18070 Fifteen Mile Road. Fraser, Michigan 48026 www.zipLogix.com

                                                                                                                                                           EXHIBIT 3
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             Case ID: COABC657-7DF8-47EF-B9BB-EB4996D093A8
                      6:16-bk-16877-WJ Doc 356                        Filed 10/02/18 Entered 10/02/18 13:33:10                                                  Desc
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                                                                                                                                      Sale Agreement # 07072018NJ
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  39   8.      Contingencies and Other Timelines.
  40           The timelines set forth in the Financing section of the Sale Agreement shall continue unchanged. Except as otherwise provided herein, the agreed-
  41           upon timelines for contingencies (e.g., review of documents of record, professional inspection, lead -based paint, etc.) and other non-contingent
  42           timelines, except Closing (e.g. time to deposit earnest money, or to transfer funds, etc.) in the Sale Agreement shall (select one):
  43           Li Continue unchanged;
  44           13 Commence on the next business day following the date Buyer delivers to Seller the Notice to Seller, by the Contingency Deadline. (Note,
  45                 this Section 4 shall lint apply if Seller has received another offer, and has complied with Section 3, above.)
  46   9.      Timeline for Closing. Closing of this transaction shall be (Select one):
  47           El As provided in the Sale Agreement;
  48                   calendar days after the date Buyer delivers the Notice to Seller;
  49           E Other (insert date):

  50   10. Delivery of Notices. Time is of the essence in the delivery of all written notices required or permitted herein. Buyer, Seller, and their respective
  51       Agents, shall exercise their best efforts to use the most prompt and reliable means for timely delivery of all such notices.

  52   11. Good Faith Cooperation with Escrow. Buyer and Seller agree to cooperate in good faith by promptly signing all documents reasonably
  53       requested by Escrow, including those for the refund of Buyer's earnest money deposit when authorized by the above provisions, or the Sale
  54       Agreement and related Addenda.

  55   12. Additional Provisions. The Contingency Deadline as referenced on line 26 of this addendum will be 30 days after mutual acceptance.
  56   This contingency shall automatically be deemed satisfied at the end of the Contingency Deadline at which time buyer will proceed to
  57   closing without this contingency, provided buyer has not terminated the agreement according to the terms of the sale agreement prior to
  58   the end of the Contingency Deadline referenced above.
  59
  60
  61
  62                                 gusir,e•
                            QVGbtiAl Abbbt                                                                              8/6/2018 1:12:09 PM PDT
  63   Buyer Signature                                                                                          Date                                          a.m.       p.m. <—
                          likee.644aRgd3anditor assigns
  64   Buyer Signature                                                                                          Date                                          a.m.       p.m.   4—

                                  DocuSigned by:

  65   Seller Signature                                                                                         Date8/2 /2018             17;21 PDT           a.
                                                                                                                                                              m          p4—
                                                                                                                                                                          s11
                          Lye_la TelätifiAgmes9

  66   Seller Signature                                                                                         Date                                          a.m.       p.m. <-


  67   Buyer's Agent Nic Jones                                                                   Seller's Agent Josh Hansen

  68   Buyer's Agent's Firm Keller Williams Central Oregon                                       Seller's Agent's Firm Strategic Realty, LLC




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             Case ID: 1A969DA7-A21D-46F2-BF61-4075F560C8FF
                      6:16-bk-16877-WJ Doc 356                             Filed 10/02/18 Entered 10/02/18 13:33:10                                                   Desc
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           gt 10 OREF                                                                                                              Sale Agreement # 07072018NJ


                                                                    FINAL AGENCY ACKNOWLEDGMENT

    1    Both Buyer and Seller acknowledge having received the Oregon Real Estate Agency Disclosure Pamphlet, and hereby acknowledge and consent
    2    to the following agency relationships in this transaction:
    3                                    Nic Jones                                   (Name of Buyers Agent(s)*), Oregon Lic. # 201210062
    4    of                                           Keller Williams Central Oregon                                            (Name of Real Estate Firm(s)")
    5    Buyers Agents Office Address                                                                                , Company Lic. # 201214610
    6    Phone                                    Fax                                    E-mail njranchesegmail.com
    7    is/are the agent of (check one): 13 Buyer exclusively ("Buyer Agency"). E Both Buyer and Seller ("Disclosed Limited Agency").
    8                                   Josh Hansen                                    (Name of Seller's Agent(s)*), Oregon Lic. # 200012039
    9    of                                                  Strategic Realty                                                 (Name of Real Estate Firm(s)*)
   10    Seller's Agent's Office Address                                                                             . Company Lic. # 200806087
   11    Phone                                    Fax                                    E-mail josh@movetobend.com
   12    is/are the agent of (check one): El Seller exclusively ("Seller Agency"). Li Both Buyer and Seller ("Disclosed Limited Agency").
   13    *If Buyer's and/or Seller's Agents and/or Firms are co-selling or co-listing in this transaction, all Agents and Firm names should be
   14    disclosed above. For directions on how to look up license numbers: https://orea.elicenseirondata.com/Lookup/LicenseLookup.aspx
   15    If both parties are each represented by one or more Agents in the same Real Estate Firm, and Agents are supervised by the same principal broker in
   16    that Real Estate Firm, Buyer and Seller acknowledge that said principal broker shall become the disclosed limited agent for both Buyer and Seller as
   17    more fully explained in the Disclosed Limited Agency Agreements that have been reviewed and signed by Buyer, Seller and Agent(s).
   18    Buyer shall sign this acknowledgment at the time of signing this Agreement before submission to Seller. Seller shall sign this acknowledgment at the
   19    time this Agreement is first submitted to Seller, even if this Agreement will be rejected or a counter offer will be made. Seller's signature to this Final
   20    Agency Acknowledgment shall not constitute acceptance of this Agreement or any terms therein.
                                                                                                                                                               7/28/2018 11:04:04 AM
                  „.--DocuSIgned by:


   21    Buyer                                                                       Print Drew Hood and/or assigns                                     Date
               '-2642
    2    Buyerecit8affga by:                                                         Print                                                              Date
   23    Seller                                                                      Print Lynda T. Bui, Trustee                                        Date
   24    Seller          C9437FAEA9BA450...                                          Print                                                              Date                   4—




                                                           RESIDENTIAL REAL ESTATE SALE AGREEMENT
  25        THIS AGREEMENT IS INTENDED TO BE A LEGAL AND BINDING CONTRACT. IF IT IS NOT UNDERSTOOD, SEEK COMPETENT LEGAL
  26        ADVICE BEFORE SIGNING. FOR AN EXPLANATION OF THE PRINTED TERMS AND PROVISIONS IN THIS FORM REGARDING TIMING,
  27         NOTICE, BINDING EFFECT, ETC., SELLER AND BUYER ARE ENCOURAGED TO CLOSELY REVIEW SECTION 31 (DEFINITIONS AND
  28                                                     INSTRUCTIONS SECTION).
  29     1. PRICE/PROPERTY DESCRIPTION: Buyer Drew Hood and/or assigns
  30
  31     offers to purchase from Seller Lynda T. Bui, Trustee
  32
  33     the following described real property (hereinafter "the Property") situated in the State of Oregon, County of Deschutes
  34     and commonly known or identified as (insert street address, city, zip code, tax identification number, lot/block description, etc.)
  35     66876 Gist Rd., Bend, OR 97703
  36
  37     (Buyer and Seller agree that if it is not provided herein, a complete legal description as provided by the title insurance company in accordance with
  38     Section 9, shall, where necessary, be used for purposes of legal identification and conveyance of title.)
  39     for the Purchase Price (in U.S. currency) of                                                                                    A$            1,995,000.00
  40     on the following terms: Earnest money                                               B$             25,000.00
  41     on                        , as additional earnest money, the sum of                 C$
  42     at or before Closing, the balance of down payment                                   D$
  43     at Closing and upon delivery of k DEED E CONTRACT the balance of the Purchase Price                                             E$            1,970,000.00
  44     shall be paid as agreed in Financing Section of the Agreement.                                                    (Lines 13,C, D and E should equal Line A)
                                                                                                                           DS

         Buyer Initials                    e
                                       kt ,,, Date 7/28/2018 11. 04:04 AM PDT                                              Seller Initials     Cer               Dat§/2 /2018I 17:21
              This form has been licensed for use solely by Nicolaus Jones pursuant to a Forms License Agreement with Oregon Real Estate Forms, LLC.
         LINES WITH THIS SYMBOL 4— REQUIRE A SIGNATURE OF BUYER AND/OR SELLER AND DATE
         Copyright Oregon Real Estate Forms, LLC 2018                        www.orefonline.com
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                                                              RESIDENTIAL REAL ESTATE SALE AGREEMENT - Page 1 of 11
    Keller Williams Central Oregon, 593 NM York Dr. Suite 100 Bend OR 97703                       Phone: (541)279-1283 Fax:                      Hood- Gist

                                                                                                                                                               EXHIBIT 3
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DocuSign Envelope
             Case ID: 1A969DA7-A21D-46F2-BF61-4075F560C8FF
                      6:16-bk-16877-WJ Doc 356                        Filed 10/02/18 Entered 10/02/18 13:33:10                                             Desc
                                                              Main Document     Page 42 of 55
         12t                                                                                                              Sale Agreement # 07072018NJ


  45    2. FIXTURES/CONTROLS/KEYS: All fixtures and essential related equipment (e.g. remote controls , and all keys related to Property including
  46    mailbox, outbuilding(s), etc.) are to be left upon the Property. Fixtures shall include but not be limited to: built-in appliances; attached floor coverings;
  47    drapery rods and curtain rods; window and door screens; storm doors and windows; system fixtures (irrigation, plumbing, ventilating, cooling and
  48    heating); water heaters; attached electric light and bathroom fixtures; light bulbs; fluorescent lamps; window blinds; awnings; fences; all planted
  49    shrubs, plants and trees; EXCEPT:
  50
   51   3. PERSONAL PROPERTY:                Only the following personal property,                   in "AS-IS" condition             and at no stated value is included:
   52
   53
   54

   55                                                                                FINANCING
  56    4. BALANCE OF PURCHASE PRICE. (Select A or B)
  57    A.     This is an all cash transaction. Buyer to provide verification ("Verification") of readily available funds as follows (select only one):
  58       Buyer has attached a copy of the Verification with the submission of this Agreement to Seller.         Buyer will provide Seller with the Verification
  59    within           business days (five [5] if not filled in) after this Agreement has been signed and accepted; or 0 Other (Describe): Buyer will be
  60    using all proceeds from the sale of their home to purchase this property.
  61    Seller may notify Buyer, in writing, of Seller's unconditional disapproval of the Verification within           business days (two [2] if not filled in)
  62    ("Disapproval Period") following its receipt by Seller, however, such disapproval must be objectively reasonable. Upon such disapproval, all earnest
  63    money deposits shall be promptly refunded to Buyer and this transaction shall be terminated. If Seller fails to provide Buyer with written
  64    unconditional disapproval of the Verification by 5:00 p.m. of the last day of the Disapproval Period, Seller shall be deemed to have
  65    approved the Verification. If Buyer fails to submit a Verification within a time frame selected above, unless the parties agree otherwise in
  66    writing, all earnest money deposits shall be promptly refunded and this transaction shall be terminated.
  67    B. El Balance of Purchase Price to be financed through one of the following Loan Programs (Select only one):
  68              0 Conventional;    FHA;       Federal VA (Seller Shall Shall not agree to pay Buyer's non-allowable VA fees);
  69    0 Other (Describe):                                                                                                         Buyer agrees to
  70    seek financing through a lending institution or mortgage broker (hereinafter collectively referred to as "Lender") participating in the Loan
  71    Program selected above.
  72    C. Pre-Approval Letter. 0 Buyer has attached a copy of a Pre-Approval Letter from Buyer's Lender;       Buyer does ragl have a Pre-Approval Letter
  73    at the time of making this offer; E Buyer agrees to secure a Pre-Approval Letter and provide a copy to Seller as follows:
  74
  75    5.1 FINANCING CONTINGENCIES. If Buyer is financing any portion of the Purchase Price, this transaction is subject to the following financing
  76    contingencies: (1) Buyer and the Property to qualify for the loan from Lender; (2) Lender's appraisal shall not be less than the Purchase Price; and,
  77    (3) Other (Describe):
  78
  79    Except as otherwise provided herein, all Financing Contingencies are solely for Buyer's benefit and may be waived by Buyer in writing at any time.
  80    5.2 FAILURE OF FINANCING CONTINGENCIES. If Buyer receives actual notification from Lender that any Financing Contingencies identified
  81    above have failed or otherwise cannot occur, Buyer shall promptly notify Seller, and the parties shall have             business days (two [2] if not filled
  82    in) following the date of Buyer's notification to Seller to either (a) Terminate this transaction by signing a OREF 057 Termination Agreement
  83    and/or such other similar form as may be provided by Escrow; or (b) Reach a written mutual agreement upon such price and terms that will permit
  84    this transaction to continue. Neither Seller nor Buyer are required under the preceding provision (b) to reach such agreement. If (a) or (b) fail to
  85    occur within the time period identified in this Section 5.2, this transaction shall be automatically terminated and all earnest money shall be promptly
  86    refunded to Buyer. Buyer understands that upon termination of this transaction, Seller shall have the right to immediately place the Property back
  87    on the market for sale upon any price and terms as Seller determines, in Seller's sole discretion.
  88    5.3 BUYER REPRESENTATION REGARDING FINANCING: Buyer makes the following representations to Seller: (1) Buyer's completed loan
  89    application, as hereinafter defined, shall be submitted to the Lender that provided the Pre-Approval Letter, a copy of which has been delivered to
  90    Seller, or will be, pursuant to Section 4C, above.
  91    (2) Buyer shall submit to Buyer's Lender a completed loan application for purchase of the Property not later than   business days (three [3] if not
  92    filled in) following the date Buyer and Seller have signed and accepted this Agreement. A "completed loan application" shall include the following

                                                                                                                                             —
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        Buyer                              Date                                                                     Seller Initials     OVID

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   93   information: (i) Buyer's name(s); (ii) Buyer's income(s); (iii) Buyer's social security number(s); (iv) the Property address; (v) an estimate of the
   94   value of the Property; and (vi) the loan amount sought.
   95   (3) Buyer agrees that if Buyer intends to proceed with the loan transaction, Buyer will so notify Lender within business days (three [3] if not filled in -
   96   but not to exceed ten [10]) in such form as required by said Lender, following Buyer's receipt of Lender's Loan Estimate. Upon request, Buyer shall
   97   promptly notify Seller of the date of Buyer's signed notice of intent to proceed with the loan.
   98   (4) Buyer will thereafter complete all paperwork requested by the Lender in a timely manner, and exercise best efforts (including payment of all
   99   application, appraisal and processing fees, where applicable) to obtain the loan.
  100   (5) Buyer understands and agrees that Buyer may not replace the Lender or Loan Program already selected, without Seller's written consent, which
  101   may be withheld in Seller's sole discretion.
  102   (6) Following submission of the loan application, Buyer agrees to keep Seller promptly informed of all material non-confidential developments
  103   regarding Buyer's financing and the time of Closing.
  104   (7) Buyer shall make a good faith effort to secure the ordering of the Lender's appraisal no later than expiration of the Inspection Period at Section
  105   10 of this Agreement, (or Section 1 of the OREF 058 Professional Inspection Addendum if used).
  106   (8) Buyer currently has liquid and available funds for the earnest money deposit and down payment sufficient to Close the transaction described
  107   herein and is not relying upon any contingent source of funds (e.g., from loans, gifts, sale or closing of other property, 401K disbursements, etc.),
  108   except as follows (describe):
  109
  110
  111   (9) Buyer authorizes Buyer's Lender to provide non-confidential information to Buyer's and Seller's Agents regarding Buyer's loan application
  112   status.
  113   6.1 INSURANCE: Buyer is encouraged to promptly verify the availability and cost of property/casualty/fire insurance that will be secured for the
  114   Property. Additionally, lenders may require proof of property/casualty/fire insurance as a condition of the loan.
  115   6.2 FLOOD INSURANCE; ELEVATION CERTIFICATE: If the Property is located in a designated flood zone. flood insurance may be required as a
  116   condition of a new loan. Buyer is encouraged to promptly verify the need, availability, and cost of flood insurance, if applicable. An Elevation
  117   Certificate ("EC") is the document used by the federal National Flood Insurance Program ("NFIP") to determine the difference in elevation between
  118   a home or building, and the base flood elevation ("BFE"), which is a computed elevation to which floodwater is anticipated to rise during certain
  119   floods. The amount of the flood insurance premium for a particular property is based upon the EC. Not all properties in flood zones require an EC,
  120   depending upon when they were constructed. ECs must be prepared and certified by a land surveyor, engineer, or architect who is authorized by
  121   the local jurisdiction to certify elevation information. The costs and fees for an EC may range from a few hundred dollars to over a thousand. If the
  122   Property requires an EC, it will need to be obtained prior to receiving a flood insurance quote. Additionally, lenders may require an EC as
  123   a condition of loan approval. For more information, go to the following link: http://www.fema.gov/base-flood-elevation
  124   7. SELLER-CARRIED FINANCING (E.G., LAND SALE CONTRACT/TRUST DEED/MORTGAGE/OPTION AGREEMENTS, RENT-TO-OWN,
  125   ETC.): Notice to Buyer and Seller: If this transaction involves a land sale contract, trust deed, mortgage, option, or lease-to-own agreement
  126   (hereinafter a "Seller Carried Transaction"), Oregon law requires that, unless exempted, individuals offering or negotiating the terms must hold a
  127   mortgage loan originator ("MLO") license. Your real estate agent is not qualified to provide these services or to advise you in this regard. Legal
  128   advice is strongly recommended. Oregon law exempts the following individuals from the MLO licensing law: (a) Those who offer or negotiate terms
  129   of a residential mortgage loan with or on behalf of their spouse, child, sibling, parent, grandparent, grandchild or a relative in a similar relationship
  130   created by law, marriage or adoption; (b) Those who sell their primary residence they currently or previously lived in; and (c) Individuals who sell up
  131   to three (3) non-primary residences during any 12-month period. (Note: One may not hold more than eight residential mortgage loans at one time.) If
  132   this is a Seller-Carried Transaction, and one or more of the preceding exemptions apply, Buyer and Seller agree as follows (select only one):
  133   E (a) Secure separate legal counsel to negotiate and draft the necessary documents; or
  134   E (b) Employ an MLO; or
  135      (c) Use the OREF 033 Seller-Carried Transaction Addendum and related forms.
  136   Seller and Buyer agree that regardless of whether (a), (b), or (c) is selected, they will reach a signed written agreement upon the terms and
  137   conditions of such financing (e.g. down payment, interest rate, amortization, term, payment dates, late fees, balloon dates, etc.) within business
  138   days (ten [10] if not filled in) commencing on the next business day following the date they have signed and accepted this Sale Agreement
  139   ("Negotiation of Terms Period"). Upon failure of Buyer and Seller to reach agreement by 5:00 p.m. on the last day of the Negotiation of Terms
  140   Period, or such other times as may be agreed upon in writing, all earnest money deposits shall be refunded to Buyer and this transaction shall be



        Buyer Initials1        kr-D-42    Date
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  141   automatically terminated. Caveat Buyer's and Seller's Agents are not authorized to render advice on these matters. Buyer and Seller are advised to
  142   secure competent legal advice while engaged in a Seller-Carried Transaction.
  143   8. ADDITIONAL FINANCING PROVISIONS (e.g. Closing Costs):
  144
  145

 146                                                                            CONTINGENCIES
 147
 148    9. TITLE INSURANCE: When this Agreement is signed and accepted by Buyer and Seller, Seller will, at Seller's sole expense, promptly order from
 149    the title insurance company selected at Section 22 below, a preliminary title report and copies of all documents of record ("the Report and
 150    Documents of Record") for the Property, and furnish them to Buyer at Buyer's contact location as defined at Section 31(3) below. Unless otherwise
 151    provided herein, this transaction is subject to Buyer's review and approval of the Report and Documents of Record (If, upon receipt, the Report and
 152    Documents of Record are not fully understood, Buyer should immediately contact the title insurance company for further information or seek
 153    competent legal advice). The Buyer's and Seller's Agents are not qualified to advise on specific legal or title issues.) Upon receipt of the Report
 154    and Documents of Record Buyer shall have               business days (five [5] if not filled in) within which to notify Seller, in writing, of any matters
 155    disclosed in the Report and Documents of Record which is/are unacceptable ("the Objections"). Buyer's failure to timely object in writing, shall
 156    constitute acceptance of the Report and/or Documents of Record. However, Buyer's failure to timely object shall not relieve Seller of the duty to
 157    convey marketable title to the Property pursuant to Section 28, below. If, within                business days (five [5] if not filled in) following Seller's
 158    receipt of the Objections, Seller fails to remove or correct the matters identified therein, or fails to give written assurances reasonably satisfactory to
 159    Buyer, that they will be removed or corrected prior to Closing, all earnest money shall be promptly refunded to Buyer, and this transaction shall be
 160    terminated. This contingency is solely for Buyer's benefit and may be waived by Buyer in writing. Within thirty (30) days after Closing, the title
 161    insurance company shall furnish to Buyer, an owner's standard form policy of title insurance insuring marketable title in the Property to Buyer in the
 162    amount of the Purchase Price, free and clear of the Objections, if any, and all other title exceptions agreed to be removed as part of this transaction.
 163    (Note: This Section 9 provides that Seller will pay for Buyer's standard owner's policy of title insurance. In some areas of the country,
 164    such a payment might be regarded as a "seller concession." Under the TILA/RESPA Integrated Disclosure Rules ("the Rules"J, there are
 165    limitations, regulations and disclosure requirements on "seller concessions", unless the product or service paid for by the Seller was one
 166    customarily paid by sellers in residential sales transactions. In Oregon, sellers customarily and routinely pay for their buyer's standard
 167    owner's policy of title insurance. Accordingly, unless the terms of this Section 9 are modified in writing by Buyer and Seller, the parties
 168    acknowledge, agree and so instruct Escrow, that in this transaction, Seller's payment of Buyer's standard owner's policy of title insurance
 169    is not a "seller concession" under the Rules or any other federal law.)
 170    10. INSPECTIONS/ENVIRONMENTAL HEALTH CONDITIONS: The following list identifies some, but not all, environmental conditions that may be
 171    found in and around all real property that may affect health: Asbestos, carbon monoxide, electric and magnetic fields, formaldehyde, lead and other
 172    contaminants in drinking water and well water, lead based paint, mold and mildew, radon, and leaking underground storage tanks. If Buyer has any
 173    concerns about these conditions or others, Buyer is encouraged to secure the services of a licensed professional inspector, consultant, or health
 174    expert, for information and guidance. Neither the Buyer's nor Seller's Agents are experts in environmental health hazards or conditions. Buyer
 175    understands that it is advisable to have a complete inspection of the Property by qualified licensed professional(s) relating to such matters as
 176    structural condition, soil condition/compaction/stability, environmental issues, survey, zoning, operating systems, and suitability for Buyer's intended
 177    purpose. Neither Buyer's nor Seller's Agent are qualified to conduct such inspections and shall not be responsible to do so. For further details,
 178    Buyer is encouraged to review the Buyer Advisory at httb://www.oregonrealtors.org/resources/membership-resources/buyer-seller-advisories
 179    and the Oregon Public Health Division at http://public.health.oregon.gov/Pages/Home.aspx.
 180    Check only one box below:
 181       LICENSED PROFESSIONAL INSPECTIONS: At Buyer's expense, Buyer may have the Property and all elements and systems thereof
 182    inspected by one or more licensed professionals of Buyer's choice. Provided, however, Buyer must specifically identify in this Agreement any
 183    desired invasive inspections that may include testing or removal of any portion of the Property including, for example, radon and mold. Buyer
 184    understands that Buyer is responsible for the restoration of the Property following any inspection(s)/test(s) performed by Buyer or on Buyer's
 185    behalf. Buyer shall have      20 business days (ten [10] if not filled in), after the date Buyer and Seller have signed and accepted this Agreement
 186    (hereinafter "the Inspection Period"), in which to complete all inspections and negotiations with Seller regarding any matters disclosed in any
 187    inspection report. Buyer shall mi provide all or any portion of the inspection reports to Seller unless requested by Seller. However, at any time during this
 188    transaction, or promptly following termination, upon request by Seller, Buyer shall promptly provide a copy of such reports or portions of reports, as
 189    requested. During the Inspection Period, Seller shall not be required to modify any terms of this Agreement already reached with Buyer. Unless a
 190    written agreement has already been reached with Seller regarding Buyer's requested repairs, at any time during the Inspection Period, Buyer may
 191    notify Seller, in writing, of Buyer's unconditional disapproval of the Property based on any inspection report(s), in which case, all earnest money
 192    deposits shall be promptly refunded, and this transaction shall be terminated. If Buyer fails to provide Seller with written unconditional
 193    disapproval of any inspection report(s) by 5:00 P.M. of the final day of the Inspection Period, Buyer shall be deemed to have accepted
                                                                                                                                         DS

                                                  7/28/2018 11. 04:04 AM PDT                                                                     Date8/2/2018 1 17 :21
        Buyer Initials                     Date                                                                     Seller Initial
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        In"                                                                                                               Sale Agreement # 07072018NJ

 194   the condition of the Property. Note that if, prior to expiration of the Inspection Period, written agreement is reached with Seller regarding
 195   Buyer's requested repairs, the Inspection Period shall automatically terminate, unless the parties agree otherwise in writing.
 196   Identify Invasive Inspections:
 197   [ ALTERNATIVE INSPECTION PROCEDURES: OREF 058 PROFESSIONAL INSPECTION ADDENDUM
 198   [ OTHER INSPECTION ADDENDUM
 199   0 BUYER'S WAIVER OF INSPECTION CONTINGENCY: Buyer represents to Seller and all Agents and Firms that Buyer is fully satisfied with the
 200   condition of the Property and all elements and systems thereof and knowingly and voluntarily elects to waive the right to have any inspections
 201   performed as a contingency to the Closing of the transaction. Buyer's election to waive the right of inspection is solely Buyer's decision and at
 202   Buyer's own risk.
 203   11. LEAD-BASED PAINT CONTINGENCY PERIOD: If the Property was constructed before 1978, on or promptly after the date the parties have signed
 204   and accepted this Agreement, Seller shall deliver to Buyer OREF 021, the Lead-Based Paint Disclosure Addendum ("the Disclosure Addendum"),
 205   together with the EPA Pamphlet entitled "Protect Your Family From Lead in Your Home" (the "Date of Delivery"). Unless waived by Buyer in writing in the
 206   Disclosure Addendum, Buyer shall have                calendar days (ten [101 or other mutually agreed upon period) commencing on the day following the
 207   Date of Delivery, within which to conduct a lead-based paint assessment or inspection (the "LBP Contingency Period"). If lead-based paint and/or lead-
 208   based paint hazards are identified in the Property by a certified inspector at any time before expiration of the LBP Contingency Period, Buyer may
 209   unconditionally cancel this transaction by written notice to Seller ("Notice of Cancellation"). In such case, Buyer shall deliver a copy of any written reports
 210   or evaluations (collectively "Reports") to Seller, together with the Notice of Cancellation, and thereafter receive a prompt refund of all earnest money
 211   deposits. Buyer understands that the failure to deliver the Notice of Cancellation to Seller together with the Reports, on or before Midnight of
 212   the last day of the LBP Contingency Period shall constitute acceptance of the condition of the Property as it relates to the presence of lead-
 213   based paint or lead-based paint hazards, and the LBP Contingency Period shall automatically expire.
 214   0 OREF 021 Lead-Based Paint Disclosure Addendum is attached to this Agreement.
 215   12.1 PRIVATE WELL: Does the Property include a well that supplies or is intended to supply domestic water for household use?                         Yes   [No
 216   If the property contains a private well, the OREF 82 Private Well Addendum will be attached to this Sale Agreement.
 217   12.2 SEPTIC/ONSITE SEWAGE SYSTEM: Does the Property include a septic/onsite sewage system? g Yes [No If the Property contains a
 218   septic/onsite sewage system, the OREF 081 Septic/Onsite Sewage System Addendum will be attached to this Sale Agreement.
 219   13. PROPERTY DISCLOSURE LAW: Buyer and Seller acknowledge that unless this transaction is otherwise exempted, Oregon law provides that
 220   Buyer has a right to revoke Buyer's offer by giving Seller written notice thereof (a) within five (5) business days after Seller's delivery of Seller's
 221   Property Disclosure Statement ("the Statement"), or (b) at any time before Closing (as defined in the Oregon Administrative Rules) if Buyer does
 222   not receive the Statement from Seller before Closing. Buyer may waive the right of revocation only in writing. Seller authorizes Seller's Agent's Firm
 223   to receive Buyer's notice of revocation, if any, on Seller's behalf.
 224                                                                 SELLER REPRESENTATIONS
 225   14. SELLER REPRESENTATIONS: Subject to other written disclosures made by Seller as a part of this transaction, Seller makes the
 226   following representations to Buyer:
 227   (1) The primary dwelling is connected to (check all that apply): [a public sewer system; Jan on-site sewage system;                 a public
 228   water system;       a private well; [other (e.g., surface springs, cistern, etc.).
 229   (2) At the earlier of possession or Closing Date, the dwelling will have one or more operating smoke alarms, smoke detectors and carbon
 230   monoxide detectors as required by law (See http://www.oregon.gov/OSP/SFM/).
 231   (3) Seller has no knowledge of any hazardous substances in or about the Property other than substances (if any) contained in appliances
 232   and equipment. Buyer acknowledges that asbestos commonly exists in insulation, ceilings, floor coverings and other areas in
 233   residential housing and may exist in the Property.
 234   (4) Seller knows of no material defects in or about the Property.
 235   (5) All electrical wiring, heating, cooling, plumbing and irrigation equipment and systems and the balance of the Property, including the
 236   yard, will be in substantially their present condition at the time Buyer is entitled to possession.
 237   (6) Seller has no notice of any liens or assessments to be levied against the Property.
 238   (7) Seller has no notice from any governmental agency of any violation of law relating to the Property.
 239   (8) Seller is not a "foreign person" under the Foreign Investment in Real Property Tax Act ("FIRPTA") as defined in this Agreement.
 240   (9) Seller knows of no material discrepancies between visible lines of possession and use (such as existing fences, hedges, landscaping,
 241   structures, driveways, and other such improvements) currently existing on the Property and the legal description of the Property.
 242   (10) Seller will keep the Property fully insured through Closing.
 243   (11) Seller agrees to promptly notify Buyer if, prior to Closing, Seller receives actual notice of any event or condition that could result in
 244   making any previously disclosed material information relating to the Property substantially misleading or incorrect.
 245   These representations are made to the best of Seller's knowledge. Seller may have made no investigations. Exceptions to items (1)
 246   through (11) are:                                                                          (For more exceptions see Addendum              ).
                                                                                                                                      DS

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       Buyer Initials:                Date                                                      Seller lnitia
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                                                                                                                            Sale Agreement # 07072018NJ


 247   Buyer acknowledges that the above representations are not warranties regarding the condition of the Property and are not a substitute
 248   for, nor in lieu of. Buyer's own responsibility to conduct a thorough and complete independent investigation, including the use of
 249   professionals, where appro_priate, regardino all material matters bearing on the condition of the Property, its value and its suitability for
 250   Buyer's intended use. Neither Buyer's nor Seller's Agents shall be responsible for conducting any inspection or investigation of any
 251   aspects of the Property.

 252   15.1 SELLER ADVISORY: OREGON STATE TAX WITHHOLDING OBLIGATIONS: Subject to certain exceptions, Escrow is required to withhold a portion
 253   of Seller's proceeds if Seller is a non-resident individual or corporation as defined under Oregon law. Buyer and Seller agree to cooperate with Escrow by
 254   executing and delivering any instrument, affidavit or statement as requested, and to perform any acts reasonable or necessary to carry out the provisions of
 255   Oregon law.

 256   15.2 SELLER/BUYER ADVISORY: FIRPTA TAX WITHHOLDING REQUIREMENT. Seller and Buyer are advised that upon Closing, a Federal law, known
 257   as the Foreign Investment in Real Property Tax Act ("FIRPTA"), requires buyers to withhold a portion of a seller's proceeds if the real property is located within
 258   the United States and the seller is a "foreign person" who does not qualify for an exemption ("Withholding Requirement"). A "foreign person" includes a non-
 259   resident alien individual, foreign corporation, foreign partnership, foreign trust or a foreign estate. Generally, the following rules apply under FIRPTA:
 260   (a) There is no Withholding Requirement, even if the seller is a "foreign person", if: (i) The purchase price of the property is not more than $300,000; and (ii) The
 261   property will be occupied as a residence by a buyer who is an individual (or a member of his/her family) (iii) for at least 50% of the number of days (excluding
 262   days the property is vacant) it is used by such person during each of the first two 12-month periods following the date of closing;
 263   (b) The Withholding Requirement will be ten percent (10%) of the purchase price when the seller is a "foreign person" and the purchase price is over
 264   $300,000, but less than $1,000,000, and (a)(ii) and (iii) above apply: and
 265   (c) The Withholding Requirement will be a fifteen percent (15%) of the purchase price when the seller is a "foreign person" and the purchase price is over
 266   $1,000,000, or the purchase price is $1,000,000 or less and Seller does not qualify for any of the exemptions in (a) or (b) above.

 267   If FIRPTA applies (i.e. Seller is a foreign person), even if there is an exemption, Seller and Buyer must complete and sign the OREF 093 FIRPTA
 268   Addendum, If FIRPTA does not apply (i.e. seller is not a foreign person), then Seller shall, upon Buyer's request, complete, sign, and deliver to
 269   Buyer a FIRPTA Certification of Non Foreign Status ("the Certificate") prior to Closing. If Seller fails or refuses to complete, sign, or deliver the
 270   Certificate to Buyer prior to Closing, Seller understands and agrees that the Withholding Requirement shall apply to this transaction. Seller's and
 271   Buyer's Agents are not experts in FIRPTA and will not act as a transferor or transferee agent for purposes of the Withholding Requirement. If
 272   FIRPTA may apply in this transaction, Seller and Buyer should promptly consult their own experts familiar with the law and regulations. For
 273   further information, Seller and Buyer should go to: https://www.irs.gov/individuals/intemational-taxpayers/firpta-withholding

 274   16. "AS-IS": Except for Seller's express written agreements and written representations contained herein, and Seller's Property
 275   Disclosure, if any, Buyer is purchasing the Property "AS-IS," in its present condition and with all defects apparent or not apparent. This
 276   provision shall not be construed to limit Buyer's right to implied new home warranties, if any, that may otherwise exist under Oregon
 277   law.
                                                                          MISCELLANEOUS ITEMS
 278
 279   17. TOWNHOME/PLANNED COMMUNITY/HOMEOWNER'S ASSOCIATION: Is the property a townhome, in a planned community, or have a
 280   Homeowner's Association? Yes [ No Unknown
 281   If yes, OREF 024 Townhome/Planned Community/Homeowner's Association Addendum will be attached to this Sale Agreement.

 282   18. ALARM SYSTEM:            NONE [ OWNED                LEASED          UNKNOWN. If leased, Buyer                  will [ will not assume the lease at Closing.
 283   19. WOODSTOVE/WOOD BURNING FIREPLACE INSERT: Does the Property contain a woodstove or wood burning fireplace insert?
 284   [ Yes   No
 285   If yes, is the woodstove/wood burning fireplace insert certified? Yes                    [ No         Unknown. If "No" or "Unknown," Seller to provide Buyer with
 286   OREF 046 Woodstove/Wood Burning Fireplace Insert Addendum.
 287   20. HOME WARRANTIES: Home warranty plans may be available to help cover homeowner costs to repair/replace certain home systems and
 288   appliances. (See specific plan for details.) Will a plan be purchased for Buyer as a part of this transaction? Yes I1 No
 289   If yes, identify plan and cost:                                                                            To be paid at Closing by: Buyer Seller



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                       OS

       Buyer lnitiak                       Date                                                                      Seller Initial    41-1,             Date/2/018 1 1./

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 290   21. ADDITIONAL PROVISIONS:
 291
 292
 293                                                                                                          For additional provisions, see Addendum             A

 294                                                                            CLOSING/ESCROW
 295   22. ESCROW: This transaction shall be Closed at Amerititle                                                                 ("Escrow"), a neutral escrow
 296   company licensed and located in the State of Oregon. Costs of Escrow shall be shared equally between Buyer and Seller, unless otherwise specifically
 297   prohibited by the U.S. Department of Veterans Affairs (Federal VA). Unless otherwise provided herein, the parties agree as follows: Seller authorizes
 298   Seller's Agent's Firm to order a preliminary title report and owner's title policy at Seller's expense and further authorizes Escrow to pay out of the
 299   cash proceeds of sale the expense of furnishing such policy, Seller's recording fees, Seller's Closing costs and any liens and encumbrances on the
 300   Property payable by Seller on or before Closing. Buyer shall deposit with Escrow sufficient funds necessary to pay Buyer's recording fees, Buyer's
 301   Closing costs, and lender's fees, if any. Real estate fees, commissions or other compensation for professional real estate services provided by
 302   Buyer's or Seller's Agent's Firms shall be paid at Closing in accordance with the listing agreement, buyer service agreement or other written
 303   agreement for compensation.
 304   23. PRORATIONS: Prorates for rents, current year's taxes, interest on assumed obligations, and other prepaid expenses attributable to the
 305   Property shall be as of: (check one) g the Closing Date; 0 date Buyer is entitled to possession.
 306   24. EARNEST MONEY DEPOSIT(S) AND BUYER INSTRUCTIONS: When this Sale Agreement is signed and accepted by Buyer and Seller, the
 307   following instructions shall immediately apply to the handling of Buyer's earnest money deposit in the sum of $ 25,000.00 ('the Deposit") .
 308   24.1 The Deposit shall be payable by electronic funds transfer or check drawn on collected funds, and deposited within                             5    (three [3] if not
 309   filled in) business days (the "Deposit Deadline") as follows (check all that apply):
 310                   0 Directly with Escrow;
 311                   0 Directly into Buyer's Agent's Firm's client trust account and remain there until disbursement at Closing; and/or
 312                   0 Directly into Buyer's Agent's Firm's client trust account and thereafter deposit with Escrow/Title Company prior to Closing;
 313                   0 As follows:
 314   Caution: The Deposit, payable by whatever method selected by Buyer above, shall be placed with Escrow or Buyer's Agent's Firm's Client Trust account no
 315   later than 5:00 pm on the last day of the Deposit Deadline. The failure to do so may result in a breach of the Sale Agreement under EARNEST MONEY
 316   PAYMENT/REFUND section, below.
 317   24.2 If an additional Deposit ("Additional Deposit") is to be paid, it shall be handled in accordance with the above-selected instructions, or (Describe):
 318
 319   24.3 Once the Deposit, and Additional Deposit, if any, is/are placed with Escrow, Seller's and Buyer's Agents and Firms shall have no
 320   further responsibility to Buyer or Seller regarding said funds.
 321   26. EARNEST MONEY DEPOSIT INSTRUCTIONS TO ESCROW: Escrow is hereby instructed by Buyer and Seller as follows: (1) Upon your receipt of a
 322   copy of this Agreement marked "rejected" by Seller or upon Listing Firm's written advice that the offer is "rejected" by Seller, you are to refund all earnest
 323   money to Buyer; (2) Upon your receipt of a copy of this Agreement signed by Buyer and Seller set up an escrow account and proceed with Closing in
 324   accordance with the terms of this Agreement. If you determine that the transaction cannot be Closed for any reason (whether or not there is then a dispute
 325   between Buyer and Seller), subject only to Section 40 below, you are to hold all earnest money deposits until you receive written instructions from Buyer and
 326   Seller, or a final ruling from a court or arbitrator, as to disposition of such deposits.
 327   26.1 EARNEST MONEY REFUND TO BUYER: If (1) Seller does not approve this Agreement; or (2) Seller signs and accepts this Agreement but
 328   fails to furnish marketable title; or (3) Seller fails to complete this transaction in accordance with the material terms of this Agreement; or (4) any
 329   condition which Buyer has made an express contingency in this Agreement (and has not been otherwise waived) fails through no fault of Buyer, then
 330   all earnest money deposits shall be promptly refunded to Buyer. However, acceptance by Buyer of the refund shall not constitute a waiver of other
 331   legal remedies available to Buyer.
 332   26.2 EARNEST MONEY PAYMENT TO SELLER: If Seller signs and accepts this Agreement and title is marketable; and (1) Buyer has materially
 333   misrepresented Buyer's financial status; or (2) Buyer's bank does not pay. when presented, any check given as earnest money or fails to timely make an
 334   electronic funds transfer for Buyer's earnest money; or (3) Buyer fails to complete this transaction in accordance with the material terms of this
 335   Agreement, then all earnest money paid or agreed to be paid shall be paid to Seller as liquidated damages. The parties expressly agree that Seller's
 336   economic and non-economic damages arising from Buyer's failure to close this transaction in accordance with the terms of this Agreement would be
 337   difficult or impossible to ascertain with any certainty, and that said earnest money deposit(s) identified herein shall represent a binding liquidated sum, and that



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  338   it is a fair, reasonable and appropriate pre-estimate of Seller's damages. and is not a penalty. It is the intention of the parties that Seller's sole
  339   remedy against Buyer for Buyer's failure to close this transaction in accordance with the material terms of this Agreement shall be limited
  340   to the amount of earnest money paid or agreed to be paid herein. Seller's right to recover from Buyer any unpaid earnest money agreed to
  341   be paid herein shall be in accordance with the provisions of the Dispute Resolution Sections below.
  342   27.1 CLOSING: Closing shall occur on a date mutually agreed upon between Buyer and Seller, but in no event later than       10/12/2018        ("the Closing
  343   Deadline"). The terms "Closed", "Closing" or "Closing Date" shall mean when the deed or contract is recorded and funds are available to Seller. Buyer and
  344   Seller acknowledge that for Closing to occur by the Closing Deadline, it may be necessary to execute documents and deposit funds in Escrow prior to that
  345   date. Caveat: Section 7 requires three (3) days prior to the Closing Deadline if Escrow is to prepare a note and a deed of trust or mortgage.
  346   27.2 THE CLOSING DISCLOSURE: Pursuant to the federal TILA-RESPA Integrated Disclosure Rules ("TRID"), Buyer and Seller will each receive a
  347   federally-required document called a "Closing Disclosure", which, among other things, summarizes each party's closing costs. TRID requires that the
  348   Closing Disclosure must be received by a residential loan borrower at least three (3) business days prior to "consummation" of the transaction, which in
  349   most cases in Oregon will be the date on which Buyer signs the loan documents. Under certain circumstances, a change to the Closing Disclosure late in
  350   the transaction could result in a delay in Closing to comply with the three business day rule. Such a delay beyond the Closing Deadline could result in
  351   termination of the transaction unless Seller and Buyer mutually agree to extend it.
  352   27.3 NOTICE REGARDING TITLE INSURANCE COSTS: The manner in which TRID requires title insurance costs to be disclosed differs from the actual
  353   costs that may be charged to the parties under Oregon law. In such instances, at Closing. Escrow may issue a separate statement showing the actual costs
  354   for an owner's policy of title insurance and, where applicable, the lender's policy of title insurance. Seller and Buyer are encouraged to discuss this with
  355   Escrow prior to Closing.
  356   28. DEED: Seller shall convey marketable title to the Property by statutory warranty deed (or good and sufficient personal representative's or
  357   trustee's or similar legal fiduciary's deed, where applicable) free and clear of all liens of record except property taxes that are a lien but not yet
  358   payable, zoning ordinances, building and use restrictions, reservations in federal patents, easements of record that affect the Property, covenants,
  359   conditions and restrictions of record, and those matters accepted by Buyer pursuant to Section 9. If Buyer's title will be held in the name of more
  360   than one person, see Section 39 regarding forms of co-ownership.
  361   29. POSSESSION: Seller shall remove all personal property (including trash and debris) that is not a part of this transaction, and deliver
  362   possession of the Property to Buyer (select one):
  363              (1) by 5:00 p.m. on Closing;
  364              (2) 0 by                  0 a.m. 0 p.m.            days after Closing;
  365              (3) 0 by                  0 a.m. D p.m. on the                day of
  366   If a tenant(s) is currently in possession of the Property (check one): 0 Buyer will accept tenant(s) at closing; 0 Seller shall have full responsibility
  367   for removal of tenant(s) prior to closing.
  368   30. SELLER POSSESSION BEFORE/AFTER CLOSING: In the event that Buyer and Seller agree that Seller will deliver possession before or after
  369   Closing, OREF 053 (Agreement to Occupy Before Closing) or OREF 054 (Agreement to Occupy After Closing) will be attached to this Sale
  370   Agreement.

  371                                                                  DEFINITIONS/INSTRUCTIONS
  372   31. DEFINITIONS/INSTRUCTIONS: (1) All references in this Sale Agreement to "Agent" and "Firm" shall refer to Buyer's and Seller's real estate
  373   agents licensed in the State of Oregon and the respective real estate companies with which they are affiliated.
  374   (2) Time is of the essence of this Agreement.
  375   (3) Except as provided in Section 9, above, all written notices or documents, required or permitted under this Agreement to be delivered to Buyer or
  376   Seller may be delivered to their respective Agent with the same effect as if delivered to that Buyer or Seller. Upon opening of this transaction with the
  377   title company identified at Section 22, above. Buyer, Seller, and their respective Agents, where applicable, shall provide Escrow with their preferred
  378   means of notification (e.g. email or text address, facsimile number, or mailing or personal delivery address, or other), which shall serve as the
  379   primary location for receipt of all notices or documents (hereinafter, "Contact Location")
  380   (4) Agent(s) and Firm(s) identified in the Final Agency Acknowledgment Section above are not parties to this Agreement.
  381   (5) A "business day" shall mean Monday through Friday, except recognized state and federal holidays.
  382   (6) Unless Seller and Buyer expressly provide otherwise, the phrase "signed and accepted" in the printed text of this Sale Agreement, or any
  383   addendum or counteroffer, however designated (collectively, "the Agreement" or "the Sale Agreement"), shall mean the date and time that either
  384   the Seller and/or Buyer has/have: (a) Signed their acceptance of the Agreement received from the other party, or their Agents, and (b) Transmitted it
  385   to the sending party, or their Agent, either by manual delivery ("Manual Delivery"), or by facsimile or electronic mail/text (collectively, "Electronic




        Buyer Initial
                        OS


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 386   Transmission"). When the Agreement is "signed and accepted" as defined herein, the Agreement becomes legally binding on Buyer and Seller, and
 387   neither has the ability to withdraw their offer or counteroffer, as the case may be.
 388   (7) The sending of a signed acceptance of the Agreement via Electronic Transmission from one party, or their Agent, to the other party, or their
 389   Agent, shall have the same effect as Manual Delivery of the signed original. If the parties intend to use any other method for transmitting a signed
 390   offer or acceptance of the Agreement (such as regular mail, certified mail, or overnight delivery), they should so specify at Section 21 (Additional
 391   Provisions) of this Sale Agreement.
 392   (8) Time calculated in days after the date Buyer and Seller have signed and accepted this Agreement shall start on the first full business day after
 393   the date they have signed and accepted it.
 394   (9) This Agreement is binding upon the heirs, personal representatives, successors and assigns of Buyer and Seller. However, Buyer's rights under
 395   this Agreement or in the Property are not assignable without prior written consent of Seller.
 396   (10) This Agreement may be signed in multiple legible counterparts with the same legal effect as if all parties signed the same document.
 397   (11) Excepting only the Lead -Based Paint Contingency Period identified in Section 11, unless a different time is specified in the Agreement, all
 398   deadlines for performance, however designated, that are measured in business or calendar days, shall terminate as of 5:00 p.m. on the last day of
 399   that deadline, however designated.
 400   32. UTILITIES: Seller shall pay all utility bills accrued to date Buyer is entitled to possession. Buyer shall pay Seller for heating fuel/propane on
 401   premises, at Seller's supplier's rate on the possession date. Payment shall be handled between Buyer and Seller outside of Escrow. Seller
 402   shall not terminate or disconnect electric, gas, heating fuel/propane, or water utilities prior to Closing unless parties agreed otherwise in writing.
 403   33. APPROVED USES: THE PROPERTY DESCRIBED IN THIS INSTRUMENT MAY NOT BE WITHIN A FIRE PROTECTION DISTRICT PROTECTING
 404   STRUCTURES. THE PROPERTY IS SUBJECT TO LAND USE LAWS AND REGULATIONS THAT, IN FARM OR FOREST ZONES, MAY NOT
 405   AUTHORIZE CONSTRUCTION OR SITING OF A RESIDENCE AND THAT LIMIT LAWSUITS AGAINST FARMING OR FOREST PRACTICES, AS
 406   DEFINED IN ORS 30.930, IN ALL ZONES. BEFORE SIGNING OR ACCEPTING THIS INSTRUMENT, THE PERSON TRANSFERRING FEE TITLE
 407   SHOULD INQUIRE ABOUT THE PERSON'S RIGHTS, IF ANY, UNDER ORS 195.300, 195.301 AND 195.305 TO 195.336 AND SECTIONS 5 TO 11,
 408   CHAPTER 424, OREGON LAWS 2007, SECTIONS 2 TO 9 AND 17. CHAPTER 855, OREGON LAWS 2009, AND SECTIONS 2 TO 7, CHAPTER 8,
 409   OREGON LAWS 2010. BEFORE SIGNING OR ACCEPTING THIS INSTRUMENT, THE PERSON ACQUIRING FEE TITLE TO THE PROPERTY SHOULD
 410   CHECK WITH THE APPROPRIATE CITY OR COUNTY PLANNING DEPARTMENT TO VERIFY THAT THE UNIT OF LAND BEING TRANSFERRED IS A
 411   LAWFULLY ESTABLISHED LOT OR PARCEL, AS DEFINED IN ORS 92.010 OR 215.010, TO VERIFY THE APPROVED USES OF THE LOT OR
 412   PARCEL, TO VERIFY THE EXISTENCE OF FIRE PROTECTION FOR STRUCTURES AND TO INQUIRE ABOUT THE RIGHTS OF NEIGHBORING
 413   PROPERTY OWNERS, IF ANY, UNDER ORS 195,300,195.301 AND 195.305 TO 195.336 AND SECTIONS 5 TO 11, CHAPTER 424, OREGON LAWS
 414   2007, SECTIONS 2 TO 9 AND 17. CHAPTER 855, OREGON LAWS 2009, AND SECTIONS 2 TO 7, CHAPTER 8, OREGON LAWS 2010.
 415   34. IRC 1031 EXCHANGE: In the event Buyer or Seller elects to complete an IRC 1031 exchange in this transaction, the other party agrees to
 416   cooperate with them and the accommodator, if any, in a manner necessary to complete the exchange, so long as it will not delay the Close of
 417   escrow or cause additional expense or liability to the cooperating party. Unless otherwise provided herein, this provision shall not become a
 418   contingency to the Closing of this transaction.
 419   35.1 LEVY OF ADDITIONAL PROPERTY TAXES: The Property: (check one) 11 is 0 is not specially assessed for property taxes (e.g., farm,
 420   forest or other) in a way that may result in levy of additional taxes in the future. If it is specially assessed, Seller represents that the Property is
 421   current as to income or other conditions required to preserve its deferred tax status. If, as a result of Buyer's actions or the Closing of this
 422   transaction, the Property either is disqualified from special use assessment or loses its deferred property tax status, unless otherwise specifically
 423   provided in this Agreement, Buyer shall be responsible for and shall pay when due, any deferred and/or additional taxes and interest that may be
 424   levied against the Property and shall hold Seller completely harmless therefrom. However, if as a result of Seller's actions prior to Closing, the
 425   Property either is disqualified from its entitlement to special use assessment or loses its deferred property tax status, Buyer may, at Buyer's sole
 426   option, promptly terminate this transaction and receive a refund of all deposits paid by Buyer in anticipation of Closing; or Close this transaction and
 427   hold Seller responsible to pay into Escrow all deferred and/or additional taxes and interest that may be levied or recaptured against the Property
 428   and hold Buyer completely harmless therefrom. The preceding shall not be construed to limit Buyer's or Seller's available remedies or damages
 429   arising from a breach of this Section 35.1.
 430   35.2 HISTORIC PROPERTY DESIGNATION: If the Property is or may be subject to a Historic Property local ordinance or is subject to or may
 431   qualify for the Historic Property Special Property Tax Assessment under ORS 358.475 to 358.565, Seller shall provide OREF 045 Historic
 432   Property Addendum.

                                                                         DISPUTE RESOLUTION
 433   36. FILING OF CLAIMS: All claims, controversies and disputes between Seller, Buyer, Agents, and/or Firms, relating to the enforcement or
 434   interpretation of this Sale Agreement (including those for rescission), as well as those relating to the validity or scope of the Sale Agreement, and all

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 435   matters concerning the jurisdiction of the arbitrator(s) and/or Arbitration Service of Portland, to hear and decide questions of arbitrability (hereinafter
 436   collectively referred to as "Claims"), shall be exclusively resolved in accordance with the procedures set forth herein, which shall survive Closing or
 437   earlier termination of this transaction. All Claims shall be governed exclusively by Oregon law, and venue shall be placed in the county where the
 438   real property is situated. Filing a Claim for arbitration shall be treated the same as filing in court for purposes of meeting any applicable statutes of
 439   limitation or statute of ultimate repose, and for purposes of filing a us pendens. BY CONSENTING TO THE PROVISIONS HEREIN. BUYER AND SELLER
 440   ACKNOWLEDGE THAT THEY ARE GIVING UP THE CONSTITUTIONAL RIGHT TO HAVE CLAIMS TRIED BY A JUDGE OR JURY IN STATE OR FEDERAL COURT.
 441   INCLUDING ALL ISSUES RELATING TO THE ARBITRABILITY OF SAID CLAIMS.
 442   37. EXCLUSIONS: The following shall not constitute Claims: (1) Any proceeding to enforce or interpret a mortgage, trust deed, land sale contract or
 443   recorded construction lien; (2) A forcible entry and detainer action (eviction); (3) If the matter is exclusively between REALTORS® and is otherwise
 444   required to be resolved under the Professional Standards Ethics and Arbitration provisions of the National Association of REALTORS(); (4) If the
 445   matter relates to a commission or fee with an Agent or Firm, and the written listing, service or fee agreement with Buyer or Seller contains a
 446   mandatory mediation and/or arbitration provision; and (5) Filing in court for the issuance of provisional process described under the Oregon Rules of
 447   Civil Procedure, provided, however, such filing shall not constitute a waiver of the right or duty to utilize the dispute resolution procedures described
 448   herein for the adjudication of any Claims.
 449   38.1. SMALL CLAIMS BETWEEN BUYER AND SELLER: All Claims between Buyer and Seller that are within the jurisdiction of the Small Claims
 450   Court of the county in which the property is located, shall be brought and decided there, in lieu of mediation: arbitration or litigation in any other
 451   forum. Notwithstanding ORS 46,455(3), neither Buyer nor Seller shall have a right to request a jury trial and so remove the matter from the Small
 452   Claims Department of the Circuit Court. A judgment in Small Claims Court is final and binding and there is no right of appeal.
 453   38.2. MEDIATION AND ARBITRATION BETWEEN BUYER AND SELLER: If Buyer's and/or Seller's Agent is a member of the National
 454   Association of REALTORS®, all Claims shall be submitted to mediation in accordance with the procedures of the Home Seller/Home Buyer Dispute
 455   Resolution System of the National Association of REALTORS® ("the System"). If an Agent is not a member of the National Association of
 456   REALTORS®, or the System is not available through the Agent's Realtor® organization, then all Claims shall be submitted to mediation through
 457   the program administered by Arbitration Service of Portland ("ASP"). All Claims that have not been resolved by mediation as described herein shall
 458   be submitted to final and binding arbitration in accordance the then-existing rules of ASP. The prevailing party in any arbitration between Buyer and
 459   Seller shall be entitled to recovery of all reasonable attorney fees, filing fees, costs, disbursements, and mediator and arbitrator fees. Provided,
 460   however, a prevailing party shall not be entitled to any award of attorney fees unless it is first established to the satisfaction of the arbitrator(s) (or
 461   judge, if applicable) that the prevailing party offered or agreed in writing to participate in mediation prior to, or promptly upon, the filing for
 462   arbitration.
 463   38.3 MEDIATION AND ARBITRATION INVOLVING AGENTS/FIRMS: All Claims that include Agents or their Firms shall be resolved in accordance
 464   with the mediation and arbitration process described in Section 38.2 above, and if applicable, the prevailing party shall be entitled to an award of
 465   attorney fees, filing fees, cost, disbursements, and mediator and arbitrator fees, as provided therein.

 466                                                                 SIGNATURE INSTRUCTIONS
 467   39. OFFER TO PURCHASE: Buyer offers to purchase the Property upon the terms and conditions set forth in this Agreement. Buyer
 468   acknowledges receipt of a completely filled in copy of this Agreement which Buyer has fully read and understands. Buyer acknowledges
 469   that Buyer has not relied upon any oral or written statements made by Seller or any Agents that are not expressly contained in this
 470   Agreement. Neither Seller nor any Agent(s) warrant the square footage of any structure or the size of any land being purchased. If square
 471   footage or land size is a material consideration, all structures and land should be measured by Buyer prior to signing or should be made
 472   an express contingency in this Agreement.
 473   Deed or contract shall be prepared in the name of to be determined in escrow.
 474   Co-Ownership Note: Buyer should secure advice from an expert or attorney regarding different forms of co-ownership and rights of survivorship.
 475   Agents are not qualified to provide advice on these issues. Once the form of co-ownership is determined, Buyer should promptly notify Escrow.
 476   This offer shall automatically expire on (insert date)     August 01          , 2018    at      5         a.m. p.m., (the "Offer Deadline"), if not
 477   accepted by that time. Buyer may withdraw this offer before the Offer Deadline any time prior to Seller's transmission of signed acceptance. This
 478   offer may  be accepted by Seller only in writing.
             ,DocuSIgnacl by:
                                                                                                   7/28/2018 11:04:04 AM PDS.m.                 p.m.
 479   Buyer                  L     7                                                        Date
             Dratev'Hd andIr assigns

 480   Buyer                                                                                                   Date                                    a.m.         p.m. 4--

 481   Address                                                                                                                              Zip
 482   Phone Home                               Work                                 E-mail drewhood75@hotmail.com                          Fax


       Buyer Initials                    Date
                                                7/28/2018 11104:04 AM PDT
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                                                                                                                         Sale Agreement # 07072018NJ


 483   This offer was delivered/transmitted to Seller for signature on the                    day of                                            , at       a.m.          p.m.
 484    By                                                                                                                                    (Agent(s) presenting offer).

 485   40. AGREEMENT TO SELL / ACKNOWLEDGEMENTS / DISPOSITION OF EARNEST MONEY: Seller accepts Buyer's offer. Seller
 486   acknowledges receipt of a completely filled-in copy of this Agreement, which Seller has fully read and understands. Seller acknowledges
 487   that Seller has not relied upon any oral or written statements of Buyer or of any Agent(s) that are not expressly contained in this
 488   Agreement. Seller instructs that all earnest money distributable to Seller pursuant to Section 25 shall be disbursed as follows after
 489   deduction of any title insurance and Escrow cancellation charges: (check one)        First to Seller's Agent's Firm to the extent of the agreed
 490   commission just as if the transaction had been Closed, with residue to Seller, or --'
 491   Seller                                                                                                  Date                                       a.m.         p.m. <—
                Lynda T. Bui, Trustee

 492   Seller                                                                                                  Date                                       a.m.         p.m.


 493   Address                                                                                                                                Zip

 494    Phone Home                              Work                                E-mail                                                    Fax

 495    Note: If delivery/transmission occurs after the Offer Deadline identified at Offer to Purchase Section, above, it will not become
 496    binding upon Seller and Buyer unless the parties agree to extend said Deadline by an Addendum, Counteroffer, or other writing,
 497   jointly signed by the parties. The parties failure to do so shall be treated as a rejection under Seller's Rejection Section, below,
 498   and this transaction shall be automatically terminated.


 499   41. SELLER'S REJECTION/COUNTER OFFER (select only one): f Seller does not accept the above offer, but makes the attached counter
 500   offer.
 501   L] S14JeDatieZillrtia ye r' S offer.

 502   Sell r                                                                  DatP/2/2018 I 17:21 PDT                a.m.     p.m. <—
                  954,T,A413ATEytee
 503   Seller                                                                                                  Date                                       a.m.         p.m. <-


 504   Address                                                                                                                                Zip
 505   Phone Home                               Work                                 E-mail                                                   Fax


 506   NO CHANGES OR ALTERATIONS ARE PERMITTED TO ANY PORTION OF THE PRE-PRINTED FORMAT OR TEXT OF THIS FORM. ANY
 507   SUCH PROPOSED CHANGES OR ALTERATIONS SHOULD BE MADE ON A SEPARATE DOCUMENT. CHANGES BY BUYER'S OR
 508   SELLER'S AGENT TO THE TERMS OR PROVISIONS ABOVE BUYER'S SIGNATURE SHOULD ALSO BE ON A SEPARATE DOCUMENT.




                                                                                                                                         Os


       [buyer Initials                   Date
                                                                       :104:04 AM PDT
                                                                                                                   Seller lnitial                      Date
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                                             RESIDENTIAL REAL ESTATE SALE AGREEMENT - Page 11 of 11
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                                                                                                                                            Sale Agreement # 07072018NJ
                                                                                                                                            Addendum # A




                                                    ADDENDUM TO REAL ESTATE SALE AGREEMENT

   1 This is an Addendum to:       Real Estate Sale Agreement                                     E Seller's Counter Offer                  E Buyer's Counter Offer
   2 Buyer: Drew Hood and/or assigns
   3 Seller: Lynda T. Bui, Trustee

   4    The real property described as: 66876 Gist Rd., Bend, OR 97703
   5    SELLER AND BUYER HEREBY AGREE THE FOLLOWING SHALL BE A PART OF THE REAL ESTATE SALE AGREEMENT REFERENCED ABOVE.
   6    --This Sale is contingent upon the successful closing of escrow of the Buyers home located at 64155 Hunnell Rd. Bend, OR 97703. The
   7    Buyer shall have 60 calendar days to remove this contingency.
   8
   9    -This offer is contingent upon completion of a due diligence/feasibility study satisfactory to Buyer. Said study shall be completed within
  10    30 calendar days from mutual acceptance of this offer and any subsequent counter offers. Seller shall cooperate in said study by
  11    providing access and providing documents pertaining to subject property. Approval/disapproval of subject study shall be at Buyer's sole
  12    discretion. Upon Buyer's written notice to Seller or Seller's agent of the Buyer's disapproval of study results, this agreement shall
  13    become null and void and any deposited earnest money shall be promptly returned to Buyer. Close of escrow shall occur on or before 10
  14    calendar days after the closing of their home on Hunnell Road.
  15
  16    -All items in the home and garages shall be included in the sale. A detailed list of items shall be provided to the Seller for signature after
  17    mutual acceptance.
  18
  19    -Seller agrees to allow buyer to assign this contract, provided that at the time of assignment the Assignee provides proof of funds and the
  20    ability to close by the scheduled closing date.
  21
  22
  23
  24
  25
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  28
                                ,liefiverl
                                   OocuSigned by:


  29    Buyer Signature                             IJ                                                               Date 7/28/2018 11:04:04 AM PDX.m.                       p.m.<-
                                           1St-Wand/or assigns
  30    Buyer Signature                                                                                              Date                                         a.m.       p.m. i-


  31                                                                                                                        8/2/2018 I 17:21 PDT                  a.m.       p.m. 4--
        Seller Signature                                                                                             Date
                                1-Yasbc-EFAKEIBMP
  32    Seller Signature                                                                                             Date                                         a.m.       p.m. 4-


  33    Buyer's Agent Nic Jones                                                                      Seller's Agent Josh Hansen

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    Keller Williams Central Oregon. 593 NW York Dr. Suite 100 Rend OR 97703                                                Phone: (541)279-1283       Fax:                        Fined- Gist
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                                                           SELLER'S COUNTER OFFER No. 1
   1     This is a counter offer to 1: Sale Agreement or fl Buyers Counter Offer
   2     Seller: Lynda T. Bui, trustee
   3     Buyer: Drew Hood and/or assigns
   4     The real property described as: 66876 Gist Rd., Bend, OR 97703

   5     AGREEMENT TO SELL: Seller agrees to sell the real and personal property upon the terms and conditions set forth in the Sale Agreement and
   6     subsequent counter offers where applicable except as modified as follows: 1. Until the end of buyer's due diligence/feasibility study, this offer
   7     is contingent upon the sale of buyer's residence at 64155 Hunnell Rd., Bend OR 97703,. If buyer's residence has not closed prior to the
   8     end of the 30 day contingency period, buyer agrees to proceed with the sale without the closing of buyer's residence. 2. Buyer agrees to
   9     provide seller with proof of funds for proceeds not coming from the sale of buyer's residence, and a loan preapproval letter
  10     demonstrating buyer's ability to purchase the property without the proceeds from the sale of buyer's residence, within 3 business days of
  11     mutual acceptance
  12     3. Buyer shall have the right to buy all of the personal property on site for $10,000, payable at close of escrow. Personal property is sold
  13     in as -is condition with no warranties expressed or implied. If buyer is elects to purchase the personal property, buyer and seller agree to
  14     execute an addendum detailing the list of items included in the sale within 10 days of mutual acceptance.
  15     4. Closing to be on or before 10 days from court approval of the sale.
  16     5. Motion to approve the sale and notice to creditors will not be begin until removal of all contingencies.
  17     6. Buyer agrees to execute the Contingent Right to Purchase Addendum accompanying this counter offer.
  18     For additional provisions, see Addendum 1

  19     All remaining terms and conditions of the Sale Agreement (and other counter offer(s), where applicable), not otherwise modified, are
  20     approved and accepted by Seller. Time is of the essence. This Seller's Counter Offer shall automatically expire on       August 06, 2018       at
  21         5    [a.m. p.m. ("the Counter Offer Deadline"), if not accepted within that time This Seller's Counter Offer may be accepted by Buyer only in
  22     writing. However, Seller may withdraw this counter offer any time prior to Buyer's written acceptance.
  23     Seller acknowledges receipt of a completely filled in copy of Buyer's Offer and Seller's Counter Offer, and all subsequent counter offers
  24     where applicable, which Seller has fully read and understands. Seller acknowledges that Seller has not relied on any oral or written
  25     statements of any Buyer or of any Agent(s) that are not expressly contained in the Sale Agreement as amended. Seller instructs that all
  26     earnest money distributable to Seller pursuant to the Sale Agreement shall be disbursed as follows after deduction of any title insurance
  27     and Escrow cancellation charges: (check one) 0 First to Seller's Agent's Firm, to the extent of the agreed commission just as if the
  28     transaction had been consummated, with residue to Seller: or Fik- 100% to seller
  29                                   DocuSigned by:

  30     Seller Signature                                                                                             Date8/2/2018 I             17:21 PDT                 a.m.      p.m. 4--
                                           7-FA4bAtrsidstee
  31     Seller Signature                                                                                             Date                                                 a.m.      p.m. 4--


  32 BUYER'S RESPONSE (select only one):
  33 E Buyer accepts Seller's Counter Offer.
  34 ICI Buyer does not accept Seller's Counter Offer AND submits the attached Buyer's Counter Offer.
  35 E Buyer rejects Seller's Counter Offer.
  36 Buyer acknowledges proeceipt of signed copies of the Sale Agreement and all subsequent counter offers including this Seller's Counter
  37 Offer, where applW,le, cViuiRnebtrier hfs fully read and understands.
  38 Buyer Signature atk,otiv et        -66x                                                  8/6/2018 1:12:09 PM PDT
                                                                                          Date                           a.m.     p.m. 4--
                                  \—Dkiiiiorzkied0Ailfor assigns
  39     Buyer Signature                                                                                              Date                                                 a.m.      p.m. 4-


  40     Note: If delivery/transmission occurs after the Counter Offer Deadline identified above, it will not become binding upon Seller and
  41     Buyer unless the parties agree to extend said Deadline by an Addendum, Counteroffer, or other writing, jointly signed by the
  42     parties. The parties' failure to do so shall be treated as a rejection under Buyers Response, above, and this transaction shall be
  43     automatically terminated.
  44     Seller's Agent Josh Hansen                                                                   Buyer's Agent Nic Jones
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    Strategic Realty Ll.C. 141 NW Greenwood As e.. Ste. 100 Bend OR 97702                                                   Phone: 541-678-0756        Fax: 888-993-2345           66876 Gist Rd.
    Josh Hansen                                  Produced with zipForm® by zipLogix 18070 Fifteen Mile Road, Fraser. Michigan 48026 www.zioLogix.com
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                           Addendum 1 to Seller Counter Offer #1 re Purchase and Sale of
                             66876 Gist Road, Bend, Oregon 97703 (Deschutes County)

            This is a counteroffer ("Counteroffer") to the July 28, 2018, "Residential Real Estate
            Agreement" received from Drew Hood ("Buyer's Offer") for the purchase of real property
            commonly known as 66876 Gist Road, Bend, OR 97703 Deschutes County ("Property"),
            by Alan Reay ("Buyer"), from Lynda T. Bui, solely in her capacity as the Chapter 7
            Trustee ("Seller" and, together with Buyer, the "Parties"), for the Bankruptcy Estate of In
            re Russel Dennis Hiles, III ("Debtor"), Bankruptcy Case No.: 6:16-bk-16877-WJ.

            When fully-executed below, this Counteroffer will constitute conclusive evidence of the
            contract for the sale and purchase of the Property (the "Sale") and the Parties' agree-
            ment for the Sale, subject to approval by the Bankruptcy Court in the Debtor's Bank-
            ruptcy case and further or more complete documentation in Seller's discretion. This
            Counteroffer Supersedes the Buyer's Proposal. Seller may elect to deem this Coun-
            teroffer the definitive agreement between the Parties regarding the Sale.

                      1.         Purchase Price:       The purchase price for the Property shall be
                                 $1,995,000.00, all cash (the "Purchase Price").

                      2.        Initial Deposit: Within two (2) business days following Buyer's execution
                                of this Counteroffer, Buyer shall deliver to escrow, together with an exe-
                                cuted copy of this Counteroffer, the sum of $25,000.00, to be applied to-
                                ward the Purchase Price (the "Deposit"), as follows:

                                                     Christina Moore, Escrow Officer
                                                     Western Title & Escrow Company
                                                     360 SW Bond Street, Suite 100
                                                     Bend, OR 97702
                                                     Telephone: : 541-330-1214; Facsimile: 541-330-1242
                                                     Email: christina.moore@westerntitle.com

                      3.         Without Contingencies or a Due Diligence Period: Buyer acknowledges
                                 that he is familiar with the Property and that the Buyer has previously
                                 viewed the Property. Nevertheless, at Buyer's sole expense, Buyer shall
                                 have until 11:59 p.m. PDT, Saturday, September 01, 2018, to obtain all
                                 investigations, appraisals and tests, and to complete any and all due dili-
                                 gence which the Buyer desires (the "Due Diligence Deadline"). By no later
                                 than the Due Diligence Deadline, Buyer may advise Seller, in writing, of
                                 his election to cancel the Sale, in which case Buyer shall receive a full re-
                                 fund of the Deposit (the "Notice to Cancel"). Absent Buyer's submission of
                                 a Notice to Cancel in accordance with this paragraph 3, the Sale shall be
                                 without any further contingencies or due diligence requirements of the
                                 Buyer.


                                                                             -1-

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                                 Without limiting the generality of the foregoing, Buyer's silence shall
                                 be deemed an acceptance and affirmative election to proceed with
                                 the Sale without any further contingencies or due diligence require-
                                 ments.

                      4.         Bankruptcy Court Approval: The Sale is expressly subject to Bankruptcy
                                 Court approval in the Debtor's bankruptcy case. As soon as reasonably
                                 practical following expiration of the Due Diligence Deadline without Buy-
                                 er's submission of a Notice to Cancel, the Seller will file a motion to ap-
                                 prove the Sale with the Bankruptcy Court pursuant to section 363 of the
                                 United States Bankruptcy Code (11 U.S.C. § 363) (the "Approval Motion").
                                 As part of such motion, the Seller will request a finding of the Buyer's
                                 "good faith" in accordance with section 363(m) of the Bankruptcy Code.

                      5.         Tender of Balance of Purchase Price/Closing: The Sale shall close, with
                                 Buyer tendering the full Purchase Price, not more than fifteen (10) calen-
                                 dar days after the entry of an order of the Bankruptcy Court authorizing
                                 the Sale.

                      6.         Property Sold "As is" "Where is"/Disclaimer of Warranties:

                                 a.        Buyer accepts the land, buildings, improvements and all other as-
                                           pects of the property in their present conditions AS IS, including la-
                                           tent defects, the environmental conditions present on the premises,
                                           or any other matter affecting or relating to the physical condition of
                                           the property, without any representations or warranties, expressed
                                           or implied, unless they are set forth expressly herein. The Buyer
                                           hereby expressly waives any and all claims arising out of any rep-
                                           resentations or warranties not specifically set forth herein. The
                                           Buyer has made a personal and complete inspection of said real
                                           property, and has found the same in good and satisfactory order
                                           and condition as of the date hereof, and relies solely upon such in-
                                           spection by Buyer in entering into this agreement and the purchase
                                           of said property on the terms, covenants, provisions and conditions
                                           herein set forth and contained, and has neither placed any reliance
                                           on nor acted upon any representations or warranties on the part of
                                           the Seller not specifically contained herein. Buyer agrees that he
                                           has ascertained, from sources other than Seller, the applicable zon-
                                           ing, building, housing and other regulatory ordinances and laws and
                                           that he accepts the property with full awareness of these ordi-
                                           nances and laws as they may affect the present use or any intend-
                                           ed future use of the property, and Seller has made no representa-
                                           tions with respect thereto.

                                 b.        Buyer acknowledges that this clause was a negotiated part of this
                                           agreement and serves as an essential component of the considera-
                                                               -2-

            5401-000 (TC Hiles)
            Counteroffer No 1. 66876 (list Rd. Bend, OR 97703 (Buyer Alan Reay) 'IC Hiles.doex      EXHIBIT 3
